 Fill in this information to identify your case:

     United States Bankruptcy Court for the:

     ____________________ District of _________________
     Western District of Washington      (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                       
                                                       ✔ Chapter 7
                                                              Chapter 11
                                                              Chapter 12
                                                              Chapter 13                                                  Check if this is an
                                                                                                                              amended filing


Official Form 101
Volunt a r y Pe t it ion for I ndividua ls Filing for Ba nk rupt cy                                                                               12/22

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


Pa rt 1 :     I de nt ify Yourse lf

                                        About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
1.    Your full name
       Write the name that is on your
       government-issued picture
                                         John-Henry
                                        __________________________________________________           __________________________________________________
       identification (for example,     First name                                                   First name
       your driver’s license or         __________________________________________________           __________________________________________________
       passport).                       Middle name                                                  Middle name

       Bring your picture                Haynes
                                        __________________________________________________           __________________________________________________
       identification to your meeting   Last name                                                    Last name
       with the trustee.                ___________________________                                  ___________________________
                                        Suffix (Sr., Jr., II, III)                                   Suffix (Sr., Jr., II, III)




                                        Diesel Transport, LLC
2.    All other names you
      have used in the last 8
      years
       Include your married or
       maiden names and any
       assumed, trade names and
       doing business as names.

       Do NOT list the name of
       any separate legal entity
       such as a corporation,
       partnership, or LLC that is
       not filing this petition.




3.    Only the last 4 digits of                           8    5    7    6
      your Social Security              xxx        – xx – ____ ____ ____ ____                        xxx   – xx – ____ ____ ____ ____
      number or federal                 OR                                                           OR
      Individual Taxpayer
      Identification number             9 xx – xx – ____ ____ ____ ____                              9 xx – xx – ____ ____ ____ ____
      (ITIN)


      Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                          page 1
                Case 23-10821-MLB                    Doc 1       Filed 05/05/23          Ent. 05/05/23 08:22:36            Pg. 1 of 55
               John-Henry Haynes
Debtor 1        _______________________________________________________                              Case number (if known)_____________________________________
                First Name   Middle Name             Last Name




                                           About Debtor 1:                                                About Debtor 2 (Spouse Only in a Joint Case):


4.   Your Employer
                                      _________________________________________________                    _________________________________________________
      Identification Number           EIN                                                                  EIN
      (EIN), if any.
                                      _________________________________________________                    _________________________________________________

                                      EIN                                                                  EIN

                                      _________________________________________________                    _________________________________________________

                                      EIN                                                                  EIN

                                      _________________________________________________                    _________________________________________________

                                      EIN                                                                  EIN




5.   Where you live                                                                                       If Debtor 2 lives at a different address:


                                           8306 Vernon Rd                                                 _________________________________________________
                                           _________________________________________________
                                           Number     Street                                              Number     Street


                                           _________________________________________________              _________________________________________________


                                           Lake Stevens                         WA        98258
                                           _________________________________________________              _________________________________________________
                                           City                            State   ZIP Code               City                            State   ZIP Code

                                           Snohomish County                                               _________________________________________________
                                           _________________________________________________
                                           County                                                         County


                                           If your mailing address is different from the one              If Debtor 2’s mailing address is different from
                                           above, fill it in here. Note that the court will send          yours, fill it in here. Note that the court will send
                                           any notices to you at this mailing address.                    any notices to this mailing address.


                                           _________________________________________________              _________________________________________________
                                           Number     Street                                              Number     Street

                                           _________________________________________________              _________________________________________________
                                           P.O. Box                                                       P.O. Box

                                           _________________________________________________              _________________________________________________
                                           City                            State   ZIP Code               City                            State   ZIP Code




6.   Why you are choosing                  Check one:                                                     Check one:
     this district to file for
     bankruptcy                            
                                           ✔ Over the last 180 days before filing this petition, I         Over the last 180 days before filing this petition, I
                                              have lived in this district longer than in any other           have lived in this district longer than in any other
                                              district.                                                      district.

                                            I have another reason. Explain.                               I have another reason. Explain.
                                              (See 28 U.S.C. § 1408.)                                        (See 28 U.S.C. § 1408.)




     Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                     page 2
              Case 23-10821-MLB                       Doc 1        Filed 05/05/23             Ent. 05/05/23 08:22:36                 Pg. 2 of 55
                John-Henry Haynes
 Debtor 1        _______________________________________________________                            Case number (if known)_____________________________________
                 First Name   Middle Name             Last Name




 Pa rt 2 :    T e ll t he Court About Y our Ba nk ruptc y Ca se


 7.   The chapter of the                    Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
      Bankruptcy Code you                   for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
      are choosing to file
      under
                                            
                                            ✔
                                              Chapter 7
                                             Chapter 11
                                             Chapter 12
                                             Chapter 13

 8.   How you will pay the fee              
                                            ✔
                                              I will pay the entire fee when I file my petition. Please check with the clerk’s office in your
                                               local court for more details about how you may pay. Typically, if you are paying the fee
                                               yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
                                               submitting your payment on your behalf, your attorney may pay with a credit card or check
                                               with a pre-printed address.

                                             I need to pay the fee in installments. If you choose this option, sign and attach the
                                               Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                             I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                               By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                               less than 150% of the official poverty line that applies to your family size and you are unable to
                                               pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                               Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.    Have you filed for    
                            ✔ No
      bankruptcy within the
      last 8 years?          Yes.             District ____________________________________________ When ______________ Case number __________________


                                               District ____________________________________________ When ______________ Case number __________________


                                               District ____________________________________________ When ______________ Case number __________________




 10. Are any bankruptcy                     
                                            ✔ No
      cases pending or being
      filed by a spouse who is         Yes.
      not filing this case with
      you, or by a business
      partner, or by an       Debtor _________________________________________________                 Relationship to you ________________________
      affiliate?              District _______________________________________________ When _______________ Case number, if known__________________



                                 Debtor _________________________________________________                         R elationship to you ___________________________

                                 District _______________________________________________ When _______________ Case number, if known__________________


11. Do you rent your                        
                                            ✔ No.  Go to line 12.
      residence?                             Yes. Has your landlord obtained an eviction judgment against you?

                                                       No. Go to line 12.
                                                       Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with
                                                          this bankruptcy petition.




      Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                  page 3
               Case 23-10821-MLB                      Doc 1        Filed 05/05/23            Ent. 05/05/23 08:22:36                Pg. 3 of 55
             John-Henry Haynes
Debtor 1      _______________________________________________________                                 Case number (if known)_____________________________________
              First Name        Middle Name             Last Name




Pa rt 3 :   Re port About Any Busine sse s Y ou Ow n a s a Sole Proprie t or


12. Are you a sole proprietor                 
                                              ✔ No. Go to Part 4.
    of any full- or part-time
    business?                                  Yes. Name and location of business
    A sole proprietorship is a
    business you operate as an                        _______________________________________________________________________________________
                                                      Name of business, if any
    individual, and is not a
    separate legal entity such as
    a corporation, partnership, or                    _______________________________________________________________________________________
                                                      Number    Street
    LLC.
    If you have more than one
                                                      _______________________________________________________________________________________
    sole proprietorship, use a
    separate sheet and attach it
    to this petition.                                 _______________________________________________         _______     __________________________
                                                       City                                                   State       ZIP Code


                                                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above
                                              If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor
13. Are you filing under                      choosing to proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you
    Chapter 11 of the                         are a small business debtor or you are choosing to proceed under Subchapter V, you must attach your
    Bankruptcy Code and                       most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or
    are you a small business                  if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    debtor or a debtor as
                                              
                                              ✔ No. I am not filing under Chapter 11.
    defined by 11 U.S. C. §
    1182(1)?                                   No. I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
                                                      the Bankruptcy Code.
    For a definition of small
    business debtor, see                       Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
    11 U.S.C. § 101(51D).                             Bankruptcy Code, and I do not choose to proceed under Subchapter V of Chapter 11.

                                               Yes. I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the
                                                 Bankrutpcy Code, and I choose to proceed under Subchatper V of Chapter 11.

Pa rt 4 :   Re port if Y ou Ow n or H a ve Any Ha za rdous Prope rt y or Any Prope rty T ha t N e e ds Im m edia te Att e nt ion
14. Do you own or have any                    
                                              ✔ No
    property that poses or is
    alleged to pose a threat                   Yes. What is the hazard?
    of imminent and
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs
                                                        If immediate attention is needed, why is it needed?
    immediate attention?
    For example, do you own
    perishable goods, or livestock
    that must be fed, or a building
    that needs urgent repairs?
                                                        Where is the property?




   Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                page 4
             Case 23-10821-MLB                          Doc 1        Filed 05/05/23           Ent. 05/05/23 08:22:36                 Pg. 4 of 55
             John-Henry Haynes
Debtor 1      _______________________________________________________                                   Case number (if known)_____________________________________
              First Name     Middle Name             Last Name




Pa rt 5 :   Ex pla in Y our Effort s to Re c e ive a Brie fing About Cre dit Counse ling

                                           About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether
    you have received a
    briefing about credit                  You must check one:                                                You must check one:
    counseling.
                                           
                                           ✔ I received a briefing from an approved credit                     I received a briefing from an approved credit
                                              counseling agency within the 180 days before I                     counseling agency within the 180 days before I
    The law requires that you                 filed this bankruptcy petition, and I received a                   filed this bankruptcy petition, and I received a
    receive a briefing about credit           certificate of completion.                                         certificate of completion.
    counseling before you file for
                                              Attach a copy of the certificate and the payment                   Attach a copy of the certificate and the payment
    bankruptcy. You must
                                              plan, if any, that you developed with the agency.                  plan, if any, that you developed with the agency.
    truthfully check one of the
    following choices. If you               I received a briefing from an approved credit                     I received a briefing from an approved credit
    cannot do so, you are not                 counseling agency within the 180 days before I                     counseling agency within the 180 days before I
    eligible to file.                         filed this bankruptcy petition, but I do not have a                filed this bankruptcy petition, but I do not have a
                                              certificate of completion.                                         certificate of completion.
    If you file anyway, the court
                                              Within 14 days after you file this bankruptcy petition,            Within 14 days after you file this bankruptcy petition,
    can dismiss your case, you
                                              you MUST file a copy of the certificate and payment                you MUST file a copy of the certificate and payment
    will lose whatever filing fee
                                              plan, if any.                                                      plan, if any.
    you paid, and your creditors
    can begin collection activities         I certify that I asked for credit counseling                      I certify that I asked for credit counseling
    again.                                    services from an approved agency, but was                          services from an approved agency, but was
                                              unable to obtain those services during the 7                       unable to obtain those services during the 7
                                              days after I made my request, and exigent                          days after I made my request, and exigent
                                              circumstances merit a 30-day temporary waiver                      circumstances merit a 30-day temporary waiver
                                              of the requirement.                                                of the requirement.
                                              To ask for a 30-day temporary waiver of the                        To ask for a 30-day temporary waiver of the
                                              requirement, attach a separate sheet explaining                    requirement, attach a separate sheet explaining
                                              what efforts you made to obtain the briefing, why                  what efforts you made to obtain the briefing, why
                                              you were unable to obtain it before you filed for                  you were unable to obtain it before you filed for
                                              bankruptcy, and what exigent circumstances                         bankruptcy, and what exigent circumstances
                                              required you to file this case.                                    required you to file this case.
                                              Your case may be dismissed if the court is                         Your case may be dismissed if the court is
                                              dissatisfied with your reasons for not receiving a                 dissatisfied with your reasons for not receiving a
                                              briefing before you filed for bankruptcy.                          briefing before you filed for bankruptcy.
                                              If the court is satisfied with your reasons, you must              If the court is satisfied with your reasons, you must
                                              still receive a briefing within 30 days after you file.            still receive a briefing within 30 days after you file.
                                              You must file a certificate from the approved                      You must file a certificate from the approved
                                              agency, along with a copy of the payment plan you                  agency, along with a copy of the payment plan you
                                              developed, if any. If you do not do so, your case                  developed, if any. If you do not do so, your case
                                              may be dismissed.                                                  may be dismissed.
                                              Any extension of the 30-day deadline is granted                    Any extension of the 30-day deadline is granted
                                              only for cause and is limited to a maximum of 15                   only for cause and is limited to a maximum of 15
                                              days.                                                              days.

                                            I am not required to receive a briefing about                     I am not required to receive a briefing about
                                              credit counseling because of:                                      credit counseling because of:

                                               Incapacity.      I have a mental illness or a mental              Incapacity.      I have a mental illness or a mental
                                                                 deficiency that makes me                                           deficiency that makes me
                                                                 incapable of realizing or making                                   incapable of realizing or making
                                                                 rational decisions about finances.                                 rational decisions about finances.
                                               Disability.      My physical disability causes me                 Disability.      My physical disability causes me
                                                                 to be unable to participate in a                                   to be unable to participate in a
                                                                 briefing in person, by phone, or                                   briefing in person, by phone, or
                                                                 through the internet, even after I                                 through the internet, even after I
                                                                 reasonably tried to do so.                                         reasonably tried to do so.
                                               Active duty. I am currently on active military                    Active duty. I am currently on active military
                                                                 duty in a military combat zone.                                    duty in a military combat zone.
                                              If you believe you are not required to receive a                   If you believe you are not required to receive a
                                              briefing about credit counseling, you must file a                  briefing about credit counseling, you must file a
                                              motion for waiver of credit counseling with the court.             motion for waiver of credit counseling with the court.




      Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                       page 5
             Case 23-10821-MLB                       Doc 1         Filed 05/05/23             Ent. 05/05/23 08:22:36                   Pg. 5 of 55
                John-Henry Haynes
Debtor 1         _______________________________________________________                                   Case number (if known)_____________________________________
                 First Name     Middle Name             Last Name




Pa rt 6 :      Answ e r T he se Que st ions for Re port ing Purpose s

                                              16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16. What kind of debts do                          as “incurred by an individual primarily for a personal, family, or household purpose.”
    you have?
                                                    No. Go to line 16b.
                                                   
                                                   ✔ Yes. Go to line 17.
                                              16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                   money for a business or investment or through the operation of the business or investment.
                                                    No. Go to line 16c.
                                                    Yes. Go to line 17.
                                              16c. State the type of debts you owe that are not consumer debts or business debts.
                                                   _______________________________________________________________

17. Are you filing under
    Chapter 7?                                 No. I am not filing under Chapter 7. Go to line 18.
    Do you estimate that after ✔ Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property is             administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and                        No
                                       ✔
    administrative expenses
    are paid that funds will be         Yes
    available for distribution
    to unsecured creditors?

18. How many creditors do                     
                                              ✔ 1-49                                      1,000-5,000                            25,001-50,000
    you estimate that you                      50-99                                     5,001-10,000                           50,001-100,000
    owe?                                       100-199                                   10,001-25,000                          More than 100,000
                                               200-999
19. How much do you                            $0-$50,000                               
                                                                                         ✔ $1,000,001-$10 million                 $500,000,001-$1 billion
    estimate your assets to                    $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
    be worth?                                  $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                               $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
20. How much do you                            $0-$50,000                                $1,000,001-$10 million                 $500,000,001-$1 billion
    estimate your liabilities                  $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
    to be?                                     $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                              
                                              ✔ $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
Pa rt 7 :      Sign Be low

                                              I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                       correct.
                                              If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                              of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                              under Chapter 7.
                                              If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                              this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                              I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                              I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                              with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                              18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                               /s/ John-Henry Haynes
                                                 ______________________________________________               _____________________________
                                                 Signature of Debtor 1                                            Signature of Debtor 2

                                                                    05/05/2023
                                                 Executed on _________________                                    Executed on __________________
                                                                    MM   / DD   / YYYY                                          MM / DD     / YYYY




            Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                  page 6
                Case 23-10821-MLB                        Doc 1           Filed 05/05/23            Ent. 05/05/23 08:22:36                 Pg. 6 of 55
             John-Henry Haynes
Debtor 1      _______________________________________________________                               Case number (if known)_____________________________________
              First Name   Middle Name             Last Name




                                         I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are            to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one                       available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                         the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
If you are not represented               knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                         _________________________________
                                           /s/ Susan Skelton                                                 Date          _________________
                                                                                                                            05/05/2023
                                            Signature of Attorney for Debtor                                               MM     /    DD / YYYY



                                              Susan Skelton
                                            _________________________________________________________________________________________________
                                            Printed name

                                              Susan E Skelton Attorney at Law
                                            _________________________________________________________________________________________________
                                            Firm name

                                             1812 Hewitt Ave
                                            _________________________________________________________________________________________________
                                            Number Street

                                             Suite 210
                                            _________________________________________________________________________________________________

                                             Everett                                                         WA            98201
                                            ______________________________________________________ ____________ ______________________________
                                            City                                                    State        ZIP Code




                                            Contact phone 425-312-5376
                                                          ______________________________         Email address
                                                                                                                 susaneskelton@gmail.com
                                                                                                                 _________________________________________



                                             47154                                                           WA
                                            ______________________________________________________ ____________
                                            Bar number                                              State




               Case
           Official Form23-10821-MLB
                        101                         Doc 1Voluntary
                                                             FiledPetition
                                                                   05/05/23          Ent. Filing
                                                                           for Individuals 05/05/23     08:22:36
                                                                                                 for Bankruptcy                       Pg. 7 of 55          page 7
 Fill in this information to identify your case:

 Debtor 1
                     John-Henry Haynes
                   __________________________________________________________________
                     First Name                      Middle Name                    Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                    Last Name


                                         ______________________
 United States Bankruptcy Court for the: Western                     District of __________
                                                 District of Washington
                                                                                                (State)
 Case number         ___________________________________________                                                                                                          Check if this is an
                     (If known)                                                                                                                                              amended filing



Official Form 106Sum
Sum m a ry of Y our Asse t s a nd Lia bilit ie s a nd Ce rt a in St a t ist ic a l I nform a t ion                                                                                       12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Pa rt 1 :      Sum ma rize Your Asse t s


                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B ........................................................................................................       $ 750,000.00
                                                                                                                                                                            ________________



    1b. Copy line 62, Total personal property, from Schedule A/B .............................................................................................            $ 341,563.21
                                                                                                                                                                            ________________


    1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................................
                                                                                                                                                                          $ 1,091,563.21
                                                                                                                                                                            ________________



Pa rt 2 :      Sum ma rize Your Lia bilit ie s



                                                                                                                                                                      Your liabilities
                                                                                                                                                                      Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............                                       $ 644,292.07
                                                                                                                                                                            ________________


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                          $ 0.00
                                                                                                                                                                            ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ...........................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F .......................................
                                                                                                                                                                      + $ 116,089.71
                                                                                                                                                                          ________________


                                                                                                                                     Your total liabilities               $ 760,381.78
                                                                                                                                                                            ________________



Pa rt 3 :      Sum ma rize Your I nc ome a nd Ex pe nse s


4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I ........................................................................................                 $ 5,700.26
                                                                                                                                                                            ________________


5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J ..................................................................................................             $ 6,163.50
                                                                                                                                                                            ________________




Official Form 106Sum                                Summary of Your Assets and Liabilities and Certain Statistical Information                                                 page 1 of 2
                Case 23-10821-MLB                            Doc 1            Filed 05/05/23                   Ent. 05/05/23 08:22:36                            Pg. 8 of 55
                  John-Henry Haynes
Debtor 1         _______________________________________________________                           Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




Pa rt 4 :      Answ e r T he se Que st ions for Adm inist ra t ive a nd Sta t istic a l Re c ords

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

     No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
     Yes
     ✔




7. What kind of debt do you have?

     Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
    ✔


           family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

     Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                          7,397.02
                                                                                                                                          $ _________________




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                           Total claim


     From Part 4 on Schedule E/F, copy the following:

                                                                                                                               0.00
    9a. Domestic support obligations (Copy line 6a.)                                                       $_____________________


                                                                                                                               0.00
                                                                                                           $_____________________
    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)

                                                                                                                               0.00
                                                                                                           $_____________________
    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)

                                                                                                                               0.00
                                                                                                           $_____________________
    9d. Student loans. (Copy line 6f.)


    9e. Obligations arising out of a separation agreement or divorce that you did not report as                                0.00
                                                                                                           $_____________________
        priority claims. (Copy line 6g.)

                                                                                                                         0.00
    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)              + $_____________________


    9g. Total. Add lines 9a through 9f.                                                                                         0.00
                                                                                                           $_____________________




    Official Form 106Sum                      Summary of Your Assets and Liabilities and Certain Statistical Information                       page 2 of 2
                Case 23-10821-MLB                   Doc 1        Filed 05/05/23            Ent. 05/05/23 08:22:36                     Pg. 9 of 55
Fill in this information to identify your case and this filing:

                     John-Henry Haynes
Debtor 1
                     First Name              Middle Name                 Last Name

Debtor 2
(Spouse, if filing)    First Name               Middle Name                 Last Name


United States Bankruptcy Court for the: Western District of
Washington
                                                                                                                                                                                                        Check if this is
Case number                                                                                                                                                                                             an amended
(if know)
                                                                                                                                                                                                        filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                                           12/15


In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.


Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
        No. Go to Part 2
        Yes. Where is the property?

                                                                                 What is the property? Check all that apply
                                                                                                                                                                Do not deduct secured claims or exemptions. Put the
    1.1 8306 Vernon Rd                                                             Single-family home                                                           amount of any secured claims on Schedule D:
            Street address, if available, or other description
                                                                                   Duplex or multi-unit building                                                Creditors Who Have Claims Secured by Property:
                                                                                   Condominium or cooperative                                                   Current value of the                Current value of the
                                                                                   Manufactured or mobile home                                                  entire property?                    portion you own?
            Lake Stevens WA               98258
                                                                                   Land                                                                         $ 750,000.00                        $ 750,000.00
            City                  State   ZIP Code
                                                                                   Investment property
                                                                                                                                                                Describe the nature of your ownership
                                                                                   Timeshare                                                                    interest (such as fee simple, tenancy by the
            Snohomish County                                                       Other                                                                        entireties, or a life estate), if known.

            County                                                               Who has an interest in the property? Check
                                                                                 one
                                                                                      Debtor 1 only                                                                  Check if this is community property
                                                                                      Debtor 2 only
                                                                                      Debtor 1 and Debtor 2 only
                                                                                      At least one of the debtors and another

                                                                                 Other information you wish to add about this item, such as local
                                                                                 property identification number:

 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
     you have attached for Part 1. Write that number here...........................................................................................................................................➤        $ 750,000.00


Part 2:        Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.
 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
            No
            Yes




                   Case 23-10821-MLB                                Doc 1               Filed 05/05/23                       Ent. 05/05/23 08:22:36                                    Pg. 10 of 55             page 1 of 6
Debtor 1          John-Henry Haynes                                                                                                                               Case number(if known)
                 First Name          Middle Name         Last Name




    3.1 Make:Chevy                                                                Who has an interest in the property? Check
                                                                                                                                                                Do not deduct secured claims or exemptions. Put the
                                                                                  one
           Model:S10 Pickup                                                                                                                                     amount of any secured claims onSchedule D:
                                                                                       Debtor 1 only                                                            Creditors Who Have Claims Secured by Property:
           Year:                             1993
                                                                                       Debtor 2 only
           Approximate mileage: 200,000                                                                                                                            Current value of the Current value of the
                                                                                       Debtor 1 and Debtor 2 only                                                  entire property?     portion you own?
              Other information:
                                                                                       At least one of the debtors and another                                     $ 900.00
              Condition:Poor; $1000-10% cost                                                                                                                                                            $ 900.00
              of sale;                                                                Check if this is community property (see
                                                                                  instructions)

    3.2 Make:BMW                                                                  Who has an interest in the property? Check
                                                                                                                                                                Do not deduct secured claims or exemptions. Put the
                                                                                  one
           Model:328i                                                                                                                                           amount of any secured claims onSchedule D:
                                                                                       Debtor 1 only                                                            Creditors Who Have Claims Secured by Property:
           Year:                             2009
                                                                                       Debtor 2 only
           Approximate mileage: 96,000                                                                                                                             Current value of the Current value of the
                                                                                       Debtor 1 and Debtor 2 only                                                  entire property?     portion you own?
              Other information:
                                                                                       At least one of the debtors and another
              Condition:$7000-10%;                                                                                                                                 $ 6,300.00                           $ 6,300.00
                                                                                      Check if this is community property (see
                                                                                  instructions)

    3.3 Make:Chevy                                                                Who has an interest in the property? Check
                                                                                                                                                                Do not deduct secured claims or exemptions. Put the
                                                                                  one
           Model:C1500                                                                                                                                          amount of any secured claims onSchedule D:
                                                                                       Debtor 1 only                                                            Creditors Who Have Claims Secured by Property:
           Year:                             1995
                                                                                       Debtor 2 only
           Approximate mileage: 218,000                                                                                                                            Current value of the Current value of the
                                                                                       Debtor 1 and Debtor 2 only                                                  entire property?     portion you own?
              Other information:
                                                                                       At least one of the debtors and another
              Condition:Fair; $800-10% cost of                                                                                                                     $ 720.00                             $ 720.00
              sale;                                                                   Check if this is community property (see
                                                                                  instructions)

    3.4 Make:Jeep                                                                 Who has an interest in the property? Check
                                                                                                                                                                Do not deduct secured claims or exemptions. Put the
                                                                                  one
           Model:Wrangler Rubicon                                                                                                                               amount of any secured claims onSchedule D:
                                                                                       Debtor 1 only                                                            Creditors Who Have Claims Secured by Property:
           Year:                             2010
                                                                                       Debtor 2 only
           Approximate mileage: 94,000                                                                                                                             Current value of the Current value of the
                                                                                       Debtor 1 and Debtor 2 only                                                  entire property?     portion you own?
               Other information:
                                                                                       At least one of the debtors and another
              Condition:Good;                                                                                                                                      $ 11,000.00                          $ 11,000.00
                                                                                      Check if this is community property (see
                                                                                  instructions)

    3.5 Make:Chevy                                                                Who has an interest in the property? Check
                                                                                                                                                                Do not deduct secured claims or exemptions. Put the
                                                                                  one
           Model:C-3500                                                                                                                                         amount of any secured claims onSchedule D:
                                                                                       Debtor 1 only                                                            Creditors Who Have Claims Secured by Property:
           Year:                             1968
                                                                                       Debtor 2 only
           Approximate mileage: Unknown                                                                                                                            Current value of the Current value of the
                                                                                       Debtor 1 and Debtor 2 only                                                  entire property?     portion you own?
               Other information:
                                                                                       At least one of the debtors and another                                     $ 900.00                             $ 900.00
              Condition:Poor; $1000-10% cost
              of sale;                                                                Check if this is community property (see
                                                                                  instructions)

    3.6 Make:Dodge                                                                Who has an interest in the property? Check
                                                                                                                                                                Do not deduct secured claims or exemptions. Put the
                                                                                  one
           Model:Ram 2500                                                                                                                                       amount of any secured claims onSchedule D:
                                                                                       Debtor 1 only                                                            Creditors Who Have Claims Secured by Property:
           Year:                             1993
                                                                                       Debtor 2 only
           Approximate mileage: 200,000                                                                                                                            Current value of the Current value of the
                                                                                       Debtor 1 and Debtor 2 only                                                  entire property?     portion you own?
               Other information:
                                                                                       At least one of the debtors and another                                     $ 900.00                             $ 900.00
              Condition:Poor; $1000-10% cost
              of sale- not legal to drive;                                            Check if this is community property (see
                                                                                  instructions)

  4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
          No
          Yes

      Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
  5. you have attached for Part 2. Write that number here...........................................................................................................................................➤              $ 20,720.00



 Part 3:        Describe Your Personal and Household Items




                Case 23-10821-MLB                                    Doc 1              Filed 05/05/23                        Ent. 05/05/23 08:22:36                                   Pg. 11 of 55                  page 2 of 6
Debtor 1         John-Henry Haynes                                                                                                                                Case number(if known)
                First Name          Middle Name          Last Name




 Do you own or have any legal or equitable interest in any of the following?                                                                                                                       Current value of the
                                                                                                                                                                                                   portion you own?
  6. Household goods and furnishings                                                                                                                                                                Do not deduct secured
                                                                                                                                                                                                    claims or exemptions.
        Examples: Major appliances, furniture, linens, china, kitchenware
             No
             Yes. Describe...

        Normal household goods and furnishings including electronics.                                                                                                                                $ 6,000.00
  7. Electronics
        Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                  collections; electronic devices including cell phones, cameras, media players, games

             No
             Yes. Describe...
  8. Collectibles of value
        Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                  stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

             No
             Yes. Describe...
  9. Equipment for sports and hobbies
        Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
                  and kayaks; carpentry tools; musical instruments

             No
             Yes. Describe...

        Tools for mechanical work.                                                                                                                                                                   $ 10,000.00
  10. Firearms
        Examples: Pistols, rifles, shotguns, ammunition, and related equipment
             No
             Yes. Describe...

        3 rifles, 2 handguns                                                                                                                                                                         $ 2,000.00
  11. Clothes
        Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
             No
             Yes. Describe...

        Normal clothing.                                                                                                                                                                             $ 150.00
  12. Jewelry
        Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems
                  gold, silver

             No
             Yes. Describe...

        Various gold and costume jewelry.                                                                                                                                                            $ 1,500.00
  13. Non-farm animals
        Examples: Dogs, cats, birds, horses

             No
             Yes. Describe...
  14. Any other personal and household items you did not already list, including any health aids you did not list
             No
             Yes. Give specific information...

        Various small boats.                                                                                                                                                                         $ 200.00

 15. Add the dollar value of the portion you own for all of your entries from Part 3, including any entries for pages
      you have attached for Part 3. Write that number here...........................................................................................................................................➤            $ 19,850.00




               Case 23-10821-MLB                                     Doc 1             Filed 05/05/23                         Ent. 05/05/23 08:22:36                                   Pg. 12 of 55                page 3 of 6
Debtor 1       John-Henry Haynes                                                                                                                                  Case number(if known)
              First Name            Middle Name           Last Name




 Part 4:     Describe Your Financial Assets

 Do you own or have any legal or equitable interest in any of the following?                                                                                                                      Current value of the
                                                                                                                                                                                                  portion you own?
                                                                                                                                                                                                  Do not deduct secured
                                                                                                                                                                                                  claims or exemptions.
  16. Cash
       Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

           No
           Yes..............................................................................................................................................   Cash ...........................    $
  17. Deposits of money
       Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses
                 and other similar institutions. If you have multiple accounts with the same institution, list each.

           No
           Yes..................                                   Institution name:
       17.1. Checking account:                                    First Financial NW Bank (2)                                                                                                      $ 132.39

       17.2. Checking account:                                    First Security (secured by loan)                                                                                                 $ 512.65

       17.3. Savings account:                                     First Financial NW Bank (3)                                                                                                      $ 2.10

  18. Bonds, mutual funds, or publicly traded stocks
       Examples: Bond funds, investment accounts with brokerage firms, money market accounts

           No
           Yes..................
  19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
       an LLC, partnership, and joint venture
           No
           Yes. Give specific information about them...........
  20. Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
           No
           Yes. Give specific information about them..........
  21. Retirement or pension accounts
       Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

           No
           Yes. List each account separately
       Type of account                        Institution name
       401(k) or similar plan:                Wife's 403b through work                                                                                                                            $ Unknown
       401(k) or similar plan:                Wife's 401k through work                                                                                                                            $ 25,000.00
       Pension plan:                          Pension through Union                                                                                                                               $ 0.00
  22. Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
                 companies, or others

           No
           Yes.....................
  23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
           No
           Yes......................
  24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition
       program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
           No
           Yes......................




             Case 23-10821-MLB                                         Doc 1               Filed 05/05/23                            Ent. 05/05/23 08:22:36                             Pg. 13 of 55            page 4 of 6
Debtor 1          John-Henry Haynes                                                                                                                               Case number(if known)
                First Name          Middle Name          Last Name




  25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
        exercisable for your benefit
             No
        Yes. Give specific information about them...
  26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
        Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

             No
             Yes. Give specific information about them...
  27. Licenses, franchises, and other general intangibles
        Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

             No
             Yes. Give specific information about them...

 Money or property owed to you?                                                                                                                                                                    Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured
                                                                                                                                                                                                   claims or exemptions.
  28. Tax refunds owed to you
             No
             Yes. Give specific information about them, including whether you already filed the returns and the tax years...
                                                                                                                                                              Federal:                             $ 0.00
                                                                                                                                                              State:                               $ 0.00
                                                                                                                                                              Local:                               $ 0.00

  29. Family support
        Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

             No
             Yes. Give specific information....
  30. Other amounts someone owes you
        Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
                  Social Security benefits; unpaid loans you made to someone else

             No
             Yes. Give specific information....
  31. Interests in insurance policies
             No
             Yes. Name the insurance company of each policy and list its value....
        Company name:                                                                                                             Beneficiary:                                                     Surrender or
                                                                                                                                                                                                   refund value:
        Wife's Term Life Insurance- no cash value ($250k)                                                                                                                                          $ 0.00
  32. Any interest in property that is due you from someone who has died
             No
             Yes. Give specific information....
  33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
             No
             Yes. Give specific information....
  34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set
        off claims
             No
             Yes. Give specific information....
  35. Any financial assets you did not already list
             No
             Yes. Give specific information...

 36. Add the dollar value of the portion you own for all of your entries from Part 4, including any entries for pages
      you have attached for Part 4. Write that number here...........................................................................................................................................➤             $ 25,647.14


 Part 5:       Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.



               Case 23-10821-MLB                                     Doc 1             Filed 05/05/23                         Ent. 05/05/23 08:22:36                                   Pg. 14 of 55                 page 5 of 6
Debtor 1            John-Henry Haynes                                                                                                                                              Case number(if known)
                  First Name            Middle Name           Last Name




  37. Do you own or have any legal or equitable interest in any business-related property?
               No. Go to Part 6.
               Yes. Go to line 38.


                   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
 Part 6:           If you own or have an interest in farmland, list it in Part 1.

  46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
               No. Go to Part 7.
               Yes. Go to line 47.


 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above

  53. Do you have other property of any kind you did not already list?
          Examples: Season tickets, country club membership

               No
               Yes. Give specific
              information...

          1989 Bayliner 3818 Motor Yacht, 40' Sierra Forest River bumper-pull trailer, 2021 Infinity 5 car hauler- business related
          property, 2014 Peterbilt 348 Semi Tractor, 1997 Peterbilt 379 Semi Tractor, 2015 Great Dane 28' Trailer, 2015 Peterbilt 337
          Rollback Tow Truck

 54. Add the dollar value of all of your entries from Part 7. Write that number here                                                     ................................................➤
                                                                                                                                                                                                                  $ 275,346.07

 Part 8:         List the Totals of Each Part of this Form

  55. Part 1: Total real estate, line 2............................................................................................................................➤
                                                                                                                                                                                                                   $ 750,000.00
  56. Part 2: Total vehicles, line 5                                                                                           $ 20,720.00
  57. Part 3: Total personal and household items, line 15                                                                      $ 19,850.00
  58. Part 4: Total financial assets, line 36                                                                                  $ 25,647.14
  59. Part 5: Total business-related property, line 45                                                                         $ 0.00
  60. Part 6: Total farm- and fishing-related property, line 52                                                                $ 0.00
  61. Part 7: Total other property not listed, line 54                                                                    + $ 275,346.07
  62. Total personal property. Add lines 56 through 61 ...................                                                      $ 341,563.21                        Copy personal property total➤          +$
                                                                                                                                                                                                                341,563.21
  63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                                                         $ 1,091,563.21




                  Case 23-10821-MLB                                       Doc 1                Filed 05/05/23                           Ent. 05/05/23 08:22:36                                   Pg. 15 of 55        page 6 of 6
 Fill in this information to identify your case:

                     John-Henry Haynes
 Debtor 1          __________________________________________________________________
                     First Name              Middle Name               Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name              Middle Name               Last Name


                                         ______________________
 United States Bankruptcy Court for the: Western District of Washington District of __________
                                                                                   (State)
 Case number
  (If known)
                     ___________________________________________                                                                                 Check if this is an
                                                                                                                                                    amended filing


Official Form 106C
Sche dule C: T he Prope r t y You Cla im a s Exe m pt                                                                                                           4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Pa rt 1 :       I de nt ify the Prope rt y You Cla im a s Ex e mpt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
     
     ✔ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

      You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on       Current value of the                    Amount of the                  Specific laws that allow exemption
       Schedule A/B that lists this property               portion you own                         exemption you claim

                                                           Copy the value from                     Check only one box
                                                           Schedule A/B                            for each exemption
                 8306 Vernon Rd                                                                                                   RCW 6.13.030
 Brief
 description:
                                                                   750,000.00
                                                                  $________________          
                                                                                             ✔ $ ____________
                                                                                                 760,600.00
                                                                                              100% of fair market value, up to
 Line from                                                                                       any applicable statutory limit
 Schedule A/B:        1.1
                 2009 BMW 328i                                                                                                    RCW 6.15.010(1)(d)(iii)
 Brief
 description:
                                                                    6,300.00
                                                                  $________________             3,250.00
                                                                                             ✔ $ ____________

                                                                                              100% of fair market value, up to
 Line from                                                                                       any applicable statutory limit
 Schedule A/B:          3.2
                 Household Goods - Normal household goods and                                                                     RCW 6.15.010(1)(d)(i)
 Brief
 description:
                 furnishings including electronics.               $________________
                                                                    6,000.00                 
                                                                                             ✔ $ ____________
                                                                                                 6,000.00
                                                                                              100% of fair market value, up to
 Line from                                                                                       any applicable statutory limit
 Schedule A/B:           6

 3. Are you claiming a homestead exemption of more than $189,050?
     (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)

      No
     
     ✔ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

        No
        Yes

Official Form 106C                                         Schedule C: The Property You Claim as Exempt                                                               2
                                                                                                                                                            page 1 of __
               Case 23-10821-MLB                    Doc 1       Filed 05/05/23               Ent. 05/05/23 08:22:36                    Pg. 16 of 55
Debtor           John-Henry Haynes
                _______________________________________________________                              Case number (if known)_____________________________________
                First Name      Middle Name         Last Name




 Pa rt 2 :     Addit iona l Pa ge

            description of the property and line
         Brief                                                                                  Amount of the                       Specific laws that allow exemption
                                                                       Current value of the     exemption you claim
         on Schedule A/B that lists this property                      portion you own
                                                                      Copy the value from      Check only one box
                                                                       Schedule A/B             for each exemption
               Sports & Hobby Equipment - Tools for mechanical work.                                                                 RCW 6.15.010 (1)(d)(ii)
Brief
description:
                                                                        10,000.00
                                                                       $________________           10,000.00
                                                                                                ✔ $ ____________

                                                                                                 100% of fair market value, up to
Line from                                                                                          any applicable statutory limit
Schedule A/B:         9
               Firearms - 3 rifles, 2 handguns                                                                                       RCW 6.15.010(d)(ii)
Brief
description:                                                           $________________
                                                                        2,000.00                
                                                                                                ✔ $ ____________
                                                                                                    2,000.00
                                                                                                 100% of fair market value, up to
                                                                                                   any applicable statutory limit
Line from
Schedule A/B:         10
               Clothing - Normal clothing.                                                                                           6.15.010(1)(a)
Brief
description:                                                           $________________
                                                                        150.00                  
                                                                                                ✔ $ ____________
                                                                                                    150.00
                                                                                                 100% of fair market value, up to
Line from                                                                                          any applicable statutory limit
Schedule A/B:         11
               Jewelry - Various gold and costume jewelry.                                                                           6.15.010(1)(a)
Brief
description:
                                                                        1,500.00
                                                                       $________________           1,500.00
                                                                                                ✔ $ ____________

                                                                                                 100% of fair market value, up to
Line from                                                                                          any applicable statutory limit
Schedule A/B:          12
               Wife's 401k through work                                                                                              RCW 6.15.020
Brief
description:
                                                                        25,000.00
                                                                       $________________           25,000.00
                                                                                                ✔ $ ____________

                                                                                                 100% of fair market value, up to
Line from                                                                                          any applicable statutory limit
Schedule A/B:        21
               1989 Bayliner 3818 Motor Yacht                                                                                        RCW 6.15.010(d)(ii)
Brief
description:
                                                                        44,100.00
                                                                       $________________           1,000.00
                                                                                                ✔ $ ____________

                                                                                                 100% of fair market value, up to
Line from                                                                                          any applicable statutory limit
Schedule A/B:           53

Brief
description:                                                           $________________         $ ____________
                                                                                                 100% of fair market value, up to
Line from                                                                                          any applicable statutory limit
Schedule A/B:
Brief
description:                                                           $________________         $ ____________
                                                                                                 100% of fair market value, up to
                                                                                                   any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                           $________________         $ ____________
                                                                                                 100% of fair market value, up to
Line from                                                                                          any applicable statutory limit
Schedule A/B:
Brief
description:                                                           $________________         $ ____________
                                                                                                 100% of fair market value, up to
Line from                                                                                          any applicable statutory limit
Schedule A/B:
Brief
description:                                                           $________________         $ ____________
                                                                                                 100% of fair market value, up to
                                                                                                   any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                           $________________         $ ____________
                                                                                                 100% of fair market value, up to
Line from                                                                                          any applicable statutory limit
Schedule A/B:


 Official Form 106C                                          Schedule C: The Property You Claim as Exempt                                                      2   2
                                                                                                                                                      page ___ of __
               Case 23-10821-MLB                    Doc 1          Filed 05/05/23             Ent. 05/05/23 08:22:36                   Pg. 17 of 55
  Fill in this information to identify your case:

  Debtor 1           John-Henry Haynes
                     First Name                                Last Name
                                          Middle Name

  Debtor 2
  (Spouse, if filing) First Name               Middle Name
                                                                    Last Name



  United States Bankruptcy Court for the: Western District of Washington

  Case number                                                                                                                                      Check if this is
  (if know)                                                                                                                                        an amended
                                                                                                                                                   filing




  Official Form 106D
  Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15

  Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
  If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write
  your name and case number (if known).

 1. Do any creditors have claims secured by your property?
       No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below.


  Part 1:       List All Secured Claims

  2. List all secured claims. If a creditor has more than one secured claim, list the creditor                Column A           Column B          Column C
     separately for each claim. If more than one creditor has a particular claim, list the other creditors in Amount of          Value of          Unsecured
     Part 2. As much as possible, list the claims in alphabetical order according to the creditor’s name. claim Do not           collateral that   portion If any
                                                                                                              deduct the value   supports this
                                                                                                              of collateral.     claim
 2.1                                                             Describe the property that secures the claim: $ 314,786.00      $ 750,000.00      $ 0.00

                                                               8306 Vernon Rd, Lake Stevens, WA 98258 - $750,000.00
       1st Security Bank of Washington
       Creditor’s Name
       6920 220th Street SW
       Number        Street
                                                              As of the date you file, the claim is: Check all
       Suite 300                                              that apply.
                                                                 Contingent
       Mountlake Terrace WA               98043                  Unliquidated
       City                       State   ZIP Code
                                                                 Disputed
       Who owes the debt? Check one.
         Debtor 1 only                                        Nature of lien. Check all that apply.
         Debtor 2 only                                           An agreement you made (such as mortgage or
                                                                 secured car loan)
         Debtor 1 and Debtor 2 only
                                                                 Statutory lien (such as tax lien, mechanic’s lien)
         At least one of the debtors and another
                                                                 Judgment lien from a lawsuit
              Check if this claim relates to a                   Other (including a right to offset)
              community debt
                                                              Last 4 digits of account number
       Date debt was incurred




                 Case 23-10821-MLB
Official Form 106D                                           Doc  1 D:Filed
                                                               Schedule         05/05/23
                                                                        Creditors Who Have Claims Ent.
                                                                                                  Secured05/05/23
                                                                                                          by Property 08:22:36       Pg. 18 of 55           page 1 of 5
Debtor          John-Henry Haynes                                                                                      Case number(if known)
               First Name        Middle Name      Last Name




 2.2                                                             Describe the property that secures the claim: $ 48,482.00      $ 750,000.00   $ 0.00

                                                                8306 Vernon Rd, Lake Stevens, WA 98258 - $750,000.00
       1st Security Bank of Washington
       Creditor’s Name
       6920 220th Street SW
       Number        Street
                                                               As of the date you file, the claim is: Check all
       Suite 300                                               that apply.
                                                                  Contingent
       Mountlake Terrace WA               98043                   Unliquidated
       City                       State   ZIP Code
                                                                  Disputed
       Who owes the debt? Check one.
         Debtor 1 only                                         Nature of lien. Check all that apply.
         Debtor 2 only                                            An agreement you made (such as mortgage or
                                                                  secured car loan)
         Debtor 1 and Debtor 2 only
                                                                  Statutory lien (such as tax lien, mechanic’s lien)
         At least one of the debtors and another
                                                                  Judgment lien from a lawsuit
              Check if this claim relates to a                    Other (including a right to offset)
              community debt
                                                               Last 4 digits of account number
       Date debt was incurred

 2.3                                                             Describe the property that secures the claim: $ 27,872.00      $ 27,872.00    $ 0.00

                                                                2014 Peterbilt 348 Semi Tractor - $27,872.00
       Ascentium Capital
       Creditor’s Name
       23970 Highway 59 N
       Number        Street
                                                               As of the date you file, the claim is: Check all
       Humble TX              77339                            that apply.
       City        State      ZIP Code
                                                                  Contingent
       Who owes the debt? Check one.                              Unliquidated
         Debtor 1 only                                            Disputed
         Debtor 2 only
         Debtor 1 and Debtor 2 only                            Nature of lien. Check all that apply.
         At least one of the debtors and another                  An agreement you made (such as mortgage or
                                                                  secured car loan)
              Check if this claim relates to a                    Statutory lien (such as tax lien, mechanic’s lien)
              community debt                                      Judgment lien from a lawsuit
                                                                  Other (including a right to offset)
       Date debt was incurred
                                                               Last 4 digits of account number

 2.4                                                             Describe the property that secures the claim: $ 24,445.78      $ 24,445.78    $ 0.00

                                                                2015 Peterbilt 337 Rollback Tow Truck - $24,445.78
       Ascentium Capital
       Creditor’s Name
       23970 Highway 59 N
       Number        Street
                                                               As of the date you file, the claim is: Check all
       Humble TX              77339                            that apply.
       City        State      ZIP Code
                                                                  Contingent
       Who owes the debt? Check one.                              Unliquidated
         Debtor 1 only                                            Disputed
         Debtor 2 only
         Debtor 1 and Debtor 2 only                            Nature of lien. Check all that apply.
         At least one of the debtors and another                  An agreement you made (such as mortgage or
                                                                  secured car loan)
              Check if this claim relates to a                    Statutory lien (such as tax lien, mechanic’s lien)
              community debt                                      Judgment lien from a lawsuit
                                                                  Other (including a right to offset)
       Date debt was incurred
                                                               Last 4 digits of account number




                 Case 23-10821-MLB
Official Form 106D                                            Doc  1 D:Filed
                                                                Schedule         05/05/23
                                                                         Creditors Who Have Claims Ent.
                                                                                                   Secured05/05/23
                                                                                                           by Property 08:22:36      Pg. 19 of 55       page 2 of 5
Debtor          John-Henry Haynes                                                                                              Case number(if known)
               First Name         Middle Name   Last Name




 2.5                                                           Describe the property that secures the claim: $ 49,000.00                $ 49,000.00    $ 0.00

                                                              1997 Peterbilt 379 Semi Tractor - $49,000.00
       Financial Pacific Leasing Inc.
       Creditor’s Name
       3455 S 344th Way STE #))
       Number        Street
                                                             As of the date you file, the claim is: Check all
       Auburn WA              98001                          that apply.
       City       State       ZIP Code
                                                                Contingent
       Who owes the debt? Check one.                            Unliquidated
         Debtor 1 only                                          Disputed
         Debtor 2 only
         Debtor 1 and Debtor 2 only                          Nature of lien. Check all that apply.
         At least one of the debtors and another                An agreement you made (such as mortgage or
                                                                secured car loan)
              Check if this claim relates to a                  Statutory lien (such as tax lien, mechanic’s lien)
              community debt                                    Judgment lien from a lawsuit
                                                                Other (including a right to offset)
       Date debt was incurred
                                                             Last 4 digits of account number

 2.6                                                           Describe the property that secures the claim: $ 61,189.00                $ 60,000.00    $ 1,189.00

                                                              40' Sierra Forest River bumper-pull trailer - $60,000.00
       Kitsap Credit Union
       Creditor’s Name
       155 Washington Ave
       Number        Street
                                                             As of the date you file, the claim is: Check all
       Bremerton WA              98337                       that apply.
       City            State     ZIP Code
                                                                Contingent
       Who owes the debt? Check one.                            Unliquidated
         Debtor 1 only                                          Disputed
         Debtor 2 only
         Debtor 1 and Debtor 2 only                          Nature of lien. Check all that apply.
         At least one of the debtors and another                An agreement you made (such as mortgage or
                                                                secured car loan)
              Check if this claim relates to a                  Statutory lien (such as tax lien, mechanic’s lien)
              community debt                                    Judgment lien from a lawsuit
                                                                Other (including a right to offset)
       Date debt was incurred
                                                             Last 4 digits of account number

 2.7                                                           Describe the property that secures the claim: $ 50,428.29                $ 50,428.29    $ 0.00

                                                              2021 Infinity 5 car hauler- business related property - $50,428.29
       Mitsubishi HC Capital America
       Creditor’s Name
       21925 Network Place
       Number        Street
                                                             As of the date you file, the claim is: Check all
       Chicago IL              60673-1219                    that apply.
       City          State     ZIP Code
                                                                Contingent
       Who owes the debt? Check one.                            Unliquidated
         Debtor 1 only                                          Disputed
         Debtor 2 only
         Debtor 1 and Debtor 2 only                          Nature of lien. Check all that apply.
         At least one of the debtors and another                An agreement you made (such as mortgage or
                                                                secured car loan)
              Check if this claim relates to a                  Statutory lien (such as tax lien, mechanic’s lien)
              community debt                                    Judgment lien from a lawsuit
                                                                Other (including a right to offset)
       Date debt was incurred
                                                             Last 4 digits of account number




                 Case 23-10821-MLB
Official Form 106D                                          Doc  1 D:Filed
                                                              Schedule         05/05/23
                                                                       Creditors Who Have Claims Ent.
                                                                                                 Secured05/05/23
                                                                                                         by Property 08:22:36                Pg. 20 of 55       page 3 of 5
Debtor            John-Henry Haynes                                                                                            Case number(if known)
                 First Name       Middle Name   Last Name




 2.8                                                           Describe the property that secures the claim: $ 11,209.00                    $ 11,000.00   $ 209.00

                                                              2010 Jeep Wrangler Rubicon - $11,000.00
         Sound Credit Union
         Creditor’s Name
         PO Box 1595
         Number       Street
                                                             As of the date you file, the claim is: Check all
         Tacoma WA             98401                         that apply.
         City         State    ZIP Code
                                                                Contingent
         Who owes the debt? Check one.                          Unliquidated
           Debtor 1 only                                        Disputed
           Debtor 2 only
           Debtor 1 and Debtor 2 only                        Nature of lien. Check all that apply.
           At least one of the debtors and another              An agreement you made (such as mortgage or
                                                                secured car loan)
                Check if this claim relates to a                Statutory lien (such as tax lien, mechanic’s lien)
                community debt                                  Judgment lien from a lawsuit
                                                                Other (including a right to offset)
         Date debt was incurred
                                                             Last 4 digits of account number

 2.9                                                           Describe the property that secures the claim: $ 19,500.00                    $ 19,500.00   $ 0.00

                                                              2015 Great Dane 28' Trailer - $19,500.00
         Top Mark Funding, LLC
         Creditor’s Name
         516 Gibson Drive
         Number       Street
                                                             As of the date you file, the claim is: Check all
         Suite 160                                           that apply.
                                                                Contingent
         Roseville CA           95678                           Unliquidated
         City          State    ZIP Code
                                                                Disputed
         Who owes the debt? Check one.
           Debtor 1 only                                     Nature of lien. Check all that apply.
           Debtor 2 only                                        An agreement you made (such as mortgage or
                                                                secured car loan)
           Debtor 1 and Debtor 2 only
                                                                Statutory lien (such as tax lien, mechanic’s lien)
           At least one of the debtors and another
                                                                Judgment lien from a lawsuit
                Check if this claim relates to a                Other (including a right to offset)
                community debt
                                                             Last 4 digits of account number
         Date debt was incurred

 2.10                                                          Describe the property that secures the claim: $ 37,380.00                    $ 44,100.00   $ 0.00

                                                              1989 Bayliner 3818 Motor Yacht - $44,100.00
         WASH STATE EMP CREDIT UNION
         Creditor’s Name
         400 UNION STREET
         Number       Street
                                                             As of the date you file, the claim is: Check all
         Olympia WA            98501                         that apply.
         City         State    ZIP Code
                                                                Contingent
         Who owes the debt? Check one.                          Unliquidated
           Debtor 1 only                                        Disputed
           Debtor 2 only
           Debtor 1 and Debtor 2 only                        Nature of lien. Check all that apply.
           At least one of the debtors and another              An agreement you made (such as mortgage or
                                                                secured car loan)
                Check if this claim relates to a                Statutory lien (such as tax lien, mechanic’s lien)
                community debt                                  Judgment lien from a lawsuit
                                                                Other (including a right to offset)
         Date debt was incurred
                                                             Last 4 digits of account number

        Add the dollar value of your entries in Column A on this page. Write that number here:                       $ 644,292.07


  Part 2:         List Others to Be Notified for a Debt That You Already Listed

   Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
   agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here.
   Similarly, if you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have
   additional persons to be notified for any debts in Part 1, do not fill out or submit this page.

                                                                                  On which line in Part 1 did you enter the creditor? 2.9
Official Form 106D Case 23-10821-MLB                        Doc  1 D:Filed
                                                              Schedule         05/05/23
                                                                       Creditors Who Have Claims Ent.
                                                                                                 Secured05/05/23
                                                                                                         by Property 08:22:36                  Pg. 21 of 55        page 4 of 5
Debtor           John-Henry Haynes                                                                                         Case number(if known)
                First Name        Middle Name   Last Name




         North Mill Equipment                                                 On which line in Part 1 did you enter the creditor? 2.9
         Creditor’s Name                                                      Last 4 digits of account number
         601 Merritt 7 #5
         Number        Street
         Norwalk CT             06851
         City          State    ZIP Code




                 Case 23-10821-MLB
Official Form 106D                                          Doc  1 D:Filed
                                                              Schedule         05/05/23
                                                                       Creditors Who Have Claims Ent.
                                                                                                 Secured05/05/23
                                                                                                         by Property 08:22:36            Pg. 22 of 55   page 5 of 5
   Fill in this information to identify your case:

                   John-Henry Haynes
   Debtor 1
                   First Name                                   Last Name
                                           Middle Name

   Debtor 2
   (Spouse, if filing) First Name               Middle Name
                                                                     Last Name



   United States Bankruptcy Court for the: Western District of Washington

   Case number                                                                                                                                                Check if this is
   (if know)                                                                                                                                                  an amended
                                                                                                                                                              filing


  Official Form 106E/F
  Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15
 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the
 other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property
 (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with
 partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you
 need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of any additional pages, write
 your name and case number (if known).

   Part 1:      List All of Your PRIORITY Unsecured Claims
  1. Do any creditors have priority unsecured claims against you?
        No. Go to Part 2.
         Yes.
   2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each
      claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority
      amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured
      claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3. (For an explanation of
      each type of claim, see the instructions for this form in the instruction booklet.)

                                                                                                                                    Total claim    Priority      Nonpriority
                                                                                                                                                   amount        amount
  2.1                                                                       Last 4 digits of account number
         Washington State Department of Transportation                                                                              $ 0.00         $ 0.00        $ 0.00
         Priority Creditor's Name
                                                                            When was the debt incurred?

         310 Maple Park Ave SE                                              As of the date you file, the claim is: Check all
         Number        Street                                               that apply.
         Po Box 47300                                                          Contingent
                                                                               Unliquidated
         Olympia WA             98504                                          Disputed
         City          State    ZIP Code

         Who owes the debt? Check one.                                      Type of PRIORITY unsecured claim:
                                                                               Domestic support obligations
             Debtor 1 only
                                                                               Taxes and certain other debts you owe the
             Debtor 2 only
                                                                               government
             Debtor 1 and Debtor 2 only                                        Claims for death or personal injury while you were
             At least one of the debtors and another                           intoxicated
             Check if this claim relates to a community                       Other. Specify
             debt
         Is the claim subject to offset?
             No
             Yes
   Part 2:      List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing else to report in this part. Submit to the court with your other schedules.
        Yes. Fill in all of the information below.

   4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                                 Total claim




                Case 23-10821-MLB
Official Form 106E/F                                          Doc Schedule
                                                                  1 Filed         05/05/23
                                                                           E/F: Creditors           Ent. 05/05/23
                                                                                          Who Have Unsecured Claims 08:22:36                      Pg. 23 of 55       page 1 of 5
 Debtor           John-Henry Haynes                                                                                           Case number(if known)
                 First Name         Middle Name     Last Name




  4.1                                                                   Last 4 digits of account number
          ADS/COMENITY/IKEAVC                                                                                                                              $ 3,000.00
          Nonpriority Creditor's Name
                                                                        When was the debt incurred?

          PO BOX 182120                                                 As of the date you file, the claim is: Check all that apply.
          Number        Street                                             Contingent
          Columbus OH               43218                                  Unliquidated
          City            State     ZIP Code
                                                                           Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                             Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                               Student loans
              Debtor 1 and Debtor 2 only                                   Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
              At least one of the debtors and another                      Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                   debts
              debt                                                        Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.2                                                                   Last 4 digits of account number
          Bank of America                                                                                                                              $ 17,491.97
          Nonpriority Creditor's Name
                                                                        When was the debt incurred?

          PO Box 982238                                                 As of the date you file, the claim is: Check all that apply.
          Number        Street                                             Contingent
          El Paso TX              79998-2235                               Unliquidated
          City         State      ZIP Code
                                                                           Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                             Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                               Student loans
              Debtor 1 and Debtor 2 only                                   Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
              At least one of the debtors and another                      Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                   debts
              debt                                                        Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.3                                                                   Last 4 digits of account number
          CAPITAL ONE                                                                                                                                  $ 20,431.00
          Nonpriority Creditor's Name
                                                                        When was the debt incurred?

          PO BOX 31293                                                  As of the date you file, the claim is: Check all that apply.
          Number        Street                                             Contingent
          Salt Lake City UT              84131                             Unliquidated
          City                   State   ZIP Code
                                                                           Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                             Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                               Student loans
              Debtor 1 and Debtor 2 only                                   Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
              At least one of the debtors and another                      Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                   debts
              debt                                                        Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes




                  Case 23-10821-MLB
Official Form 106E/F                                            Doc Schedule
                                                                    1 Filed         05/05/23
                                                                             E/F: Creditors           Ent. 05/05/23
                                                                                            Who Have Unsecured Claims 08:22:36              Pg. 24 of 55     page 2 of 5
 Debtor            John-Henry Haynes                                                                                           Case number(if known)
                 First Name            Middle Name   Last Name




  4.4                                                                    Last 4 digits of account number
          Christensen (Amerifuel)                                                                                                                           $ 6,587.37
          Nonpriority Creditor's Name
                                                                         When was the debt incurred?

          Jadwin Ave                                                     As of the date you file, the claim is: Check all that apply.
          Number        Street                                              Contingent
          Richland WA                 99352                                 Unliquidated
          City          State         ZIP Code
                                                                            Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                              Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                Student loans
              Debtor 1 and Debtor 2 only                                    Obligations arising out of a separation agreement or divorce
                                                                            that you did not report as priority claims
              At least one of the debtors and another                       Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                    debts
              debt                                                         Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.5                                                                    Last 4 digits of account number
          Citicards CBNA                                                                                                                                $ 16,400.00
          Nonpriority Creditor's Name
                                                                         When was the debt incurred?

          5800 South Corporate Place                                     As of the date you file, the claim is: Check all that apply.
          Number        Street                                              Contingent
          MAIL CODE 234                                                     Unliquidated
                                                                            Disputed
          Sioux Falls SD                57108
          City                State     ZIP Code                         Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                                    Student loans
              Debtor 1 only                                                 Obligations arising out of a separation agreement or divorce
                                                                            that you did not report as priority claims
              Debtor 2 only
                                                                            Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                    debts
              At least one of the debtors and another                      Other. Specify Credit Card Debt
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.6                                                                    Last 4 digits of account number
          Intuit                                                                                                                                        $ 38,000.00
          Nonpriority Creditor's Name
                                                                         When was the debt incurred?

          6888 Sierra Center Pkwy                                        As of the date you file, the claim is: Check all that apply.
          Number        Street                                              Contingent
          Reno NV               89511                                       Unliquidated
          City      State       ZIP Code
                                                                            Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                              Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                Student loans
              Debtor 1 and Debtor 2 only                                    Obligations arising out of a separation agreement or divorce
                                                                            that you did not report as priority claims
              At least one of the debtors and another                       Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                    debts
              debt                                                         Other. Specify Monies Loaned / Advanced
          Is the claim subject to offset?
              No
              Yes




                   Case 23-10821-MLB
Official Form 106E/F                                             Doc Schedule
                                                                     1 Filed         05/05/23
                                                                              E/F: Creditors           Ent. 05/05/23
                                                                                             Who Have Unsecured Claims 08:22:36              Pg. 25 of 55     page 3 of 5
 Debtor           John-Henry Haynes                                                                                           Case number(if known)
                 First Name           Middle Name   Last Name




  4.7                                                                   Last 4 digits of account number
          McKinney Trailer Rentals                                                                                                                          $ 864.72
          Nonpriority Creditor's Name
                                                                        When was the debt incurred?

          PO Box 515574                                                 As of the date you file, the claim is: Check all that apply.
          Number        Street                                             Contingent
          Los Angeles CA                90051                              Unliquidated
          City                State     ZIP Code
                                                                           Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                             Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                               Student loans
              Debtor 1 and Debtor 2 only                                   Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
              At least one of the debtors and another                      Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                   debts
              debt                                                        Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.8                                                                   Last 4 digits of account number
          Motor Trucks International and Idealease, Inc.                                                                                                   $ 4,308.96
          Nonpriority Creditor's Name
                                                                        When was the debt incurred? 2023

          PO Box 1538                                                   As of the date you file, the claim is: Check all that apply.
          Number        Street                                             Contingent
          Marysville WA               98270                                Unliquidated
          City            State       ZIP Code
                                                                           Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                             Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                               Student loans
              Debtor 1 and Debtor 2 only                                   Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
              At least one of the debtors and another
                                                                           Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                   debts
              debt                                                        Other. Specify Deficiency Balance
          Is the claim subject to offset?
              No
              Yes

  4.9                                                                   Last 4 digits of account number
          Universal Premium Mastercard                                                                                                                     $ 9,005.69
          Nonpriority Creditor's Name
                                                                        When was the debt incurred?

          PO Box 7095                                                   As of the date you file, the claim is: Check all that apply.
          Number        Street                                             Contingent
          Charlotte NC            28272                                    Unliquidated
          City           State    ZIP Code
                                                                           Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                             Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                               Student loans
              Debtor 1 and Debtor 2 only                                   Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
              At least one of the debtors and another                      Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                   debts
              debt                                                        Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

   Part 3:        List Others to Be Notified About a Debt That You Already Listed

  5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a
     collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection
     agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If
     you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.


   Part 4:        Add the Amounts for Each Type of Unsecured Claim

  6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
     Add the amounts for each type of unsecured claim.




                  Case 23-10821-MLB
Official Form 106E/F                                            Doc Schedule
                                                                    1 Filed         05/05/23
                                                                             E/F: Creditors           Ent. 05/05/23
                                                                                            Who Have Unsecured Claims 08:22:36              Pg. 26 of 55     page 4 of 5
 Debtor         John-Henry Haynes                                                                                Case number(if known)
               First Name     Middle Name   Last Name




                                                                                                     Total claim

   Total claims        6a. Domestic support obligations                                    6a.   $ 0.00
   from Part 1
                       6b. Taxes and certain other debts you owe the                       6b.   $ 0.00
                       government
                       6c. Claims for death or personal injury while you were              6c.   $ 0.00
                           intoxicated
                       6d. Other. Add all other priority unsecured claims. Write that      6d.   $ 0.00
                           amount here.
                       6e. Total. Add lines 6a through 6d.                                 6e.
                                                                                                  $ 0.00



                                                                                                     Total claim

   Total claims        6f. Student loans                                                   6f.   $ 0.00
   from Part 2
                       6g. Obligations arising out of a separation agreement or            6g.   $ 0.00
                           divorce that you did not report as priority claims
                       6h. Debts to pension or profit-sharing plans, and other             6h.   $ 0.00
                           similar debts
                       6i. Other. Add all other nonpriority unsecured claims. Write that   6i.   $ 116,089.71
                           amount here.
                       6j. Total. Add lines 6f through 6i.                                 6j.
                                                                                                  $ 116,089.71




                Case 23-10821-MLB
Official Form 106E/F                                    Doc Schedule
                                                            1 Filed         05/05/23
                                                                     E/F: Creditors           Ent. 05/05/23
                                                                                    Who Have Unsecured Claims 08:22:36         Pg. 27 of 55   page 5 of 5
  Fill in this information to identify your case:

  Debtor 1
                     John-Henry Haynes
                      First Name                         Last Name
                                   Middle Name

  Debtor 2
  (Spouse, if filing) First Name         Middle Name
                                                              Last Name



  United States Bankruptcy Court for the: Western District of Washington

  Case number                                                                                                                   Check if this is
  (if know)                                                                                                                     an amended
                                                                                                                                filing




  Official Form 106G
  Schedule G: Executory Contracts and Unexpired Leases                                                                                   12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.
On the top of any additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
      No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is
    for (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of
    executory contracts and unexpired leases.


       Person or company with whom you have the contract or lease State what the contract or lease is for




               Case 23-10821-MLB
Official Form 106G                               DocSchedule
                                                     1 Filed        05/05/23
                                                             G: Executory Contracts and Ent.   05/05/23
                                                                                        Unexpired Leases 08:22:36    Pg. 28 of 55        page 1 of 1
Fill in this information to identify your case:

Debtor 1
                 John-Henry Haynes
                   First Name                              Last Name
                                     Middle Name

Debtor 2
(Spouse, if filing) First Name            Middle Name
                                                                Last Name



United States Bankruptcy Court for the: Western District of Washington

Case number                                                                                                                                          Check if this is
(if know)                                                                                                                                            an amended
                                                                                                                                                     filing




  Official Form 106H
  Schedule H: Your Codebtors                                                                                                                                 12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.


 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      No
      Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
    California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      No. Go to line 3.
        Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
            No
            Yes. In which community state or territory did you live? WA                   . Fill in the name and current address of that person.

            Danika Haynes
            Name of your spouse, former spouse, or legal equivalent
            8306 Vernon Rd
            Number       Street
            Lake Stevens                                                   WA          98258
            City                                                           State       ZIP Code



 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in
    line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
    Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
    out Column 2.


       Column 1: Your codebtor                                                                         Column 2: The creditor to whom you owe the debt
                                                                                                       Check all schedules that apply:
3.1     Lindalee Haynes                                                                                   Schedule D, line 2.6
        Name                                                                                              Schedule E/F, line
        .                                                                                                 Schedule G, line
        Street
        .                                                              .           .
        City                                                           State       ZIP Code

3.2     Diesel Transport, LLC                                                                             Schedule D, line 2.5
        Name                                                                                              Schedule E/F, line
        .                                                                                                 Schedule G, line
        Street
        .                                                              .           .
        City                                                           State       ZIP Code




                 Case 23-10821-MLB
Official Form 106H                                      Doc 1              Filed  05/05/23
                                                                               Schedule              Ent. 05/05/23 08:22:36
                                                                                        H: Your Codebtors                                    Pg. 29 of 55   page 1 of 2
Debtor            John-Henry Haynes                                                                            Case number(if known)
                First Name   Middle Name   Last Name




3.3      Diesel Transport, LLC                                                            Schedule D, line
         Name                                                                             Schedule E/F, line 4.6
         .                                                                                Schedule G, line
         Street
         .                                                     .       .
         City                                                  State   ZIP Code

3.4      Diesel Transport, LLC                                                            Schedule D, line 2.4
         Name                                                                             Schedule E/F, line
         .                                                                                Schedule G, line
         Street
         .                                                     .       .
         City                                                  State   ZIP Code
3.5      Diesel Transport, LLC                                                            Schedule D, line 2.3
         Name                                                                             Schedule E/F, line
         .                                                                                Schedule G, line
         Street
         .                                                     .       .
         City                                                  State   ZIP Code
3.6      Diesel Transport, LLC                                                            Schedule D, line 2.7
         Name                                                                             Schedule E/F, line
         .                                                                                Schedule G, line
         Street
         .                                                     .       .
         City                                                  State   ZIP Code

3.7      Diesel Transport, LLC                                                            Schedule D, line
         Name                                                                             Schedule E/F, line 4.7
         .                                                                                Schedule G, line
         Street
         .                                                     .       .
         City                                                  State   ZIP Code

3.8      Diesel Transport, LLC                                                            Schedule D, line 2.9
         Name                                                                             Schedule E/F, line
         .                                                                                Schedule G, line
         Street
         .                                                     .       .
         City                                                  State   ZIP Code




Official Form 106HCase 23-10821-MLB                    Doc 1       Filed  05/05/23
                                                                       Schedule              Ent. 05/05/23 08:22:36
                                                                                H: Your Codebtors                            Pg. 30 of 55   page 2 of 2
 Fill in this information to identify your case:

                      John-Henry Haynes
 Debtor 1           ____________________________________________________________________
                     First Name             Middle Name              Last Name

 Debtor 2            ____________________________________________________________________
 (Spouse, if filing) First Name             Middle Name              Last Name


 United States Bankruptcy Court for the: ______________________     District
                                          Western District of Washington
                                                                                  tate)
 Case number         ___________________________________________                                      Check if this is:
  (If known)
                                                                                                       An amended filing
                                                                                                       A supplement showing postpetition chapter 13
                                                                                                         income as of the following date:
                                                                                                         ________________
Official Form 106I                                                                                       MM / DD / YYYY

Sche dule I : Your I nc om e                                                                                                                      12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Pa rt 1 :         De sc ribe Em ployme nt


1. Fill in your employment
    information.                                                           Debtor 1                                  Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with                                                                                      ✔ Employed
    information about additional         Employment status               Employed                                   
    employers.                                                          
                                                                        ✔ Not employed                                Not employed
    Include part-time, seasonal, or
    self-employed work.                                                                                              Utility Worker
                                         Occupation                    __________________________________          __________________________________
    Occupation may include student
    or homemaker, if it applies.                                                                                     Public Utility District No. 1 Of
                                         Employer’s name              __________________________________
                                                                                                                     Snohomish County
                                                                                                                    __________________________________


                                         Employer’s address           _______________________________________        2320 California Street
                                                                                                                  ________________________________________
                                                                       Number Street                               Number    Street

                                                                      _______________________________________     ________________________________________

                                                                      _______________________________________     ________________________________________

                                                                      _______________________________________         Everett, WA 98201
                                                                                                                  ________________________________________
                                                                       City            State  ZIP Code              City                State ZIP Code

                                          How long employed there?________________________                          ________________________
                                                                                                                     7 months


 Pa rt 2 :         Give De t a ils About Mont hly I nc ome

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                 For Debtor 1       For Debtor 2 or
                                                                                                                    non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.          2.            0.00              7,209.28
                                                                                                $___________          $____________

 3. Estimate and list monthly overtime pay.                                               3.   + $___________
                                                                                                         0.00      + $____________
                                                                                                                           187.74

 4. Calculate gross income. Add line 2 + line 3.                                          4.            0.00
                                                                                                $__________               7,397.02
                                                                                                                      $____________




Official Form 106I                                                Schedule I: Your Income                                                     page 1
               Case 23-10821-MLB                   Doc 1       Filed 05/05/23             Ent. 05/05/23 08:22:36            Pg. 31 of 55
Debtor 1
                 John-Henry    Haynes
                 _______________________________________________________                                                 Case number (if known)_____________________________________
                 First Name         Middle Name               Last Name

                                                                                                                        For Debtor 1        For Debtor 2 or
                                                                                                                                            non-filing spouse

   Copy line 4 here ............................................................................................  4.          0.00
                                                                                                                        $___________               7,397.02
                                                                                                                                               $_____________
5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                           5a.           0.00
                                                                                                                        $____________                558.39
                                                                                                                                               $_____________
     5b. Mandatory contributions for retirement plans                                                            5b.           0.00
                                                                                                                        $____________                199.92
                                                                                                                                               $_____________
     5c. Voluntary contributions for retirement plans                                                            5c.           0.00
                                                                                                                        $____________                199.92
                                                                                                                                               $_____________
     5d. Required repayments of retirement fund loans                                                            5d.           0.00
                                                                                                                        $____________                  0.00
                                                                                                                                               $_____________
     5e. Insurance                                                                                               5e.           0.00
                                                                                                                        $____________                268.08
                                                                                                                                               $_____________
     5f. Domestic support obligations                                                                            5f.           0.00
                                                                                                                        $____________                  0.00
                                                                                                                                               $_____________
                                                                                                                               0.00
                                                                                                                        $____________                  0.00
                                                                                                                                               $_____________
     5g. Union dues                                                                                              5g.
                                     Pers2 Stat                                                                  5h. + $____________
     5h. Other deductions. Specify: __________________________________                                                        0.00          + $_____________
                                                                                                                                                    470.45
    _____________________________________________________________                                                       $____________          $____________
    _____________________________________________________________                                                       $____________          $____________
    _____________________________________________________________                                                       $____________          $____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                   6.            0.00
                                                                                                                        $____________              1,696.76
                                                                                                                                               $____________
 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                           7.           0.00
                                                                                                                        $____________              5,700.26
                                                                                                                                               $____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                                   0.00                     0.00
                                                                                                                        $____________          $_____________
           monthly net income.                                                                                   8a.
     8b. Interest and dividends                                                                                  8b.           0.00
                                                                                                                        $____________                   0.00
                                                                                                                                               $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                                0.00                      0.00
                                                                                                                        $____________          $_____________
           settlement, and property settlement.                                                                  8c.
     8d. Unemployment compensation                                                                               8d.           0.00
                                                                                                                        $____________                   0.00
                                                                                                                                               $_____________
     8e. Social Security                                                                                         8e.           0.00
                                                                                                                        $____________                   0.00
                                                                                                                                               $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.                                                      0.00
                                                                                                                        $____________                   0.00
                                                                                                                                               $_____________

     8g. Pension or retirement income                                                                            8g.           0.00
                                                                                                                        $____________                   0.00
                                                                                                                                               $_____________

     8h. Other monthly income. Specify: _______________________________                                          8h. + $____________
                                                                                                                              0.00           + $_____________
                                                                                                                                                        0.00
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                         9.           0.00
                                                                                                                        $____________                   0.00
                                                                                                                                               $_____________

10. Calculate monthly income. Add line 7 + line 9.
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                    10.
                                                                                                                               0.00
                                                                                                                        $___________    +          5,700.26
                                                                                                                                               $_____________        = $_____________
                                                                                                                                                                          5,700.26

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                   11. + $_____________

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                                          5,700.26
                                                                                                                                                                       $_____________
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                         12.
                                                                                                                                                                       Combined
                                                                                                                                                                       monthly income
13. Do you expect an increase or decrease within the year after you file this form?
      
      ✔ No.
       Yes. Explain:

  Official Form 106I                                                               Schedule I: Your Income                                                               page 2
              Case 23-10821-MLB                               Doc 1            Filed 05/05/23                    Ent. 05/05/23 08:22:36               Pg. 32 of 55
  Fill in this information to identify your case:

                     John-Henry Haynes
  Debtor 1          __________________________________________________________________
                      First Name             Middle Name                 Last Name                           Check if this is:
  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name             Middle Name                 Last Name
                                                                                                              An amended filing
                                          Western District of Washington District of __________
                                                                                                              A supplement showing postpetition chapter 13
  United States Bankruptcy Court for the: ______________________                                                 expenses as of the following date:
                                                                                     (State)
                                                                                                                 ________________
  Case number         ___________________________________________                                                MM / DD / YYYY
  (If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                                                  12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:            Describe Your Household

1. Is this a joint case?

   ✔ No. Go to line 2.
   
    Yes. Does Debtor 2 live in a separate household?
                No
                Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2. Do you have dependents?                 ✔ No
                                                                                         Dependent’s relationship to              Dependent’s   Does dependent live
   Do not list Debtor 1 and                 Yes. Fill out this information for           Debtor 1 or Debtor 2                     age           with you?
   Debtor 2.                                   each dependent..........................
   Do not state the dependents’
                                                                                                                                                  No
                                                                                          _________________________                ________
   names.                                                                                                                                         Yes
                                                                                          _________________________                ________       No
                                                                                                                                                  Yes
                                                                                          _________________________                ________       No
                                                                                                                                                  Yes
                                                                                          _________________________                ________       No
                                                                                                                                                  Yes
                                                                                          _________________________                ________       No
                                                                                                                                                  Yes
3. Do your expenses include
   expenses of people other than
                                            No
   yourself and your dependents?            Yes

Part 2:         Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                                 Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                                 2,336.78
                                                                                                                                     $_____________________
     any rent for the ground or lot.                                                                                         4.

     If not included in line 4:
                                                                                                                                                      0.00
     4a.    Real estate taxes                                                                                                4a.     $_____________________
     4b.    Property, homeowner’s, or renter’s insurance                                                                     4b.
                                                                                                                                                      0.00
                                                                                                                                     $_____________________
     4c.    Home maintenance, repair, and upkeep expenses                                                                    4c.                      0.00
                                                                                                                                     $_____________________
     4d.    Homeowner’s association or condominium dues                                                                      4d.                      0.00
                                                                                                                                     $_____________________

  Official Form 106J                                            Schedule J: Your Expenses                                                              page 1
                Case 23-10821-MLB                   Doc 1         Filed 05/05/23                 Ent. 05/05/23 08:22:36                 Pg. 33 of 55
                    John-Henry Haynes
 Debtor 1          _______________________________________________________                     Case number (if known)_____________________________________
                   First Name     Middle Name        Last Name




                                                                                                                          Your expenses

                                                                                                                         $_____________________
                                                                                                                                       350.00
 5. Additional mortgage payments for your residence, such as home equity loans                                    5.


 6. Utilities:

        6a.   Electricity, heat, natural gas                                                                      6a.    $_____________________
                                                                                                                                       375.00
        6b.   Water, sewer, garbage collection                                                                    6b.    $_____________________
                                                                                                                                       134.00
        6c.   Telephone, cell phone, Internet, satellite, and cable services                                      6c.    $_____________________
                                                                                                                                       273.00
        6d.   Other. Specify: _______________________________________________                                     6d.    $_____________________
                                                                                                                                          0.00
 7. Food and housekeeping supplies                                                                                7.     $_____________________
                                                                                                                                       750.00
 8. Childcare and children’s education costs                                                                      8.     $_____________________
                                                                                                                                          0.00
 9. Clothing, laundry, and dry cleaning                                                                           9.     $_____________________
                                                                                                                                          0.00
10.    Personal care products and services                                                                        10.    $_____________________
                                                                                                                                          0.00
11.    Medical and dental expenses                                                                                11.    $_____________________
                                                                                                                                        30.00
12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                         $_____________________
                                                                                                                                       400.00
       Do not include car payments.                                                                               12.

13.     Entertainment, clubs, recreation, newspapers, magazines, and books                                        13.    $_____________________
                                                                                                                                          0.00
14.     Charitable contributions and religious donations                                                          14.    $_____________________
                                                                                                                                          0.00
                                                                                                                                                        1
15.     Insurance.
        Do not include insurance deducted from your pay or included in lines 4 or 20.

        15a. Life insurance                                                                                       15a.   $_____________________
                                                                                                                                        35.00
        15b. Health insurance                                                                                     15b.   $_____________________
                                                                                                                                          0.00
        15c. Vehicle insurance                                                                                    15c.   $_____________________
                                                                                                                                       228.05
        15d. Other insurance. Specify:_______________________________________                                     15d.   $_____________________
                                                                                                                                          0.00

16.    Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
        Specify: ________________________________________________________                                         16.
                                                                                                                                         0.00
                                                                                                                         $_____________________

17.    Installment or lease payments:

        17a. Car payments for Vehicle 1                                                                           17a.   $_____________________
                                                                                                                                       381.67
        17b. Car payments for Vehicle 2                                                                           17b.   $_____________________
                                                                                                                                          0.00
                              Streaming
        17c. Other. Specify:_______________________________________________                                       17c.   $_____________________
                                                                                                                                        30.00
        17d. Other. Specify:_______________________________________________                                       17d.   $_____________________
                                                                                                                                          0.00

18.    Your payments of alimony, maintenance, and support that you did not report as deducted from
       your pay on line 5, Schedule I, Your Income (Official Form 106I).                                           18.                    0.00
                                                                                                                         $_____________________

19.    Other payments you make to support others who do not live with you.
       Specify:_______________________________________________________                                             19.
                                                                                                                                          0.00
                                                                                                                         $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

        20a. Mortgages on other property                                                                          20a.   $_____________________
                                                                                                                                          0.00
        20b. Real estate taxes                                                                                    20b.   $_____________________
                                                                                                                                          0.00
        20c. Property, homeowner’s, or renter’s insurance                                                         20c.   $_____________________
                                                                                                                                          0.00
        20d. Maintenance, repair, and upkeep expenses                                                             20d.   $_____________________
                                                                                                                                          0.00
        20e. Homeowner’s association or condominium dues                                                          20e.   $_____________________
                                                                                                                                          0.00


      Official Form 106J                                         Schedule J: Your Expenses                                                     page 2
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                   John-Henry Haynes
Debtor 1          _______________________________________________________                       Case number (if known)_____________________________________
                  First Name    Middle Name        Last Name




21.     Other. Specify:______________________________________________________________________
                        Moorage
                                                                                                                                        840.00
                                                                                                                   21.   +$_____________________
______________________________________________________________________________________                                   +$_____________________
______________________________________________________________________________________                                   +$_____________________
22.     Calculate your monthly expenses.

        22a. Add lines 4 through 21.                                                                             22a.                 6,163.50
                                                                                                                          $_____________________

        22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22c. Add line 22a   22b.     $_____________________

        and 22b. The result is your monthly expenses.                                                            22c.                 6,163.50
                                                                                                                          $_____________________


23. Calculate your monthly net income.
                                                                                                                                       5,700.26
                                                                                                                           $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                         23a.

      23b.   Copy your monthly expenses from line 22c above.                                                      23b.                 6,163.50
                                                                                                                         – $_____________________

      23c.   Subtract your monthly expenses from your monthly income.                                                                   -463.24
                                                                                                                           $_____________________
             The result is your monthly net income.                                                               23c.



24. Do you expect an increase or decrease in your expenses within the year after you file this form?

       For example, do you expect to finish paying for your car loan within the year or do you expect your
       mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

       No.
      ✔
       Yes.        Explain here:




      Official Form 106J                                       Schedule J: Your Expenses                                                        page 3
               Case 23-10821-MLB                  Doc 1         Filed 05/05/23          Ent. 05/05/23 08:22:36               Pg. 35 of 55
Fill in this information to identify your case:

Debtor 1           John-Henry Haynes
                  __________________________________________________________________
                    First Name              Middle Name             Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name              Middle Name             Last Name


                                        ______________________
United States Bankruptcy Court for the:Western                      District of __________
                                               District of Washington
                                                                                (State)
Case number         ___________________________________________
(If known)
                                                                                                                                      Check if this is an
                                                                                                                                         amended filing


  Official Form 106Dec
  De cla rat ion About a n I ndividua l De bt or’s Sche dule s                                                                                    12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                    Sign Be low



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

       
       ✔ No

        Yes. Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                               Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




     /s/ John-Henry Haynes
          ______________________________________________           _____________________________
         Signature of Debtor 1                                         Signature of Debtor 2


              05/05/2023
         Date _________________                                        Date _________________
                MM /    DD       /   YYYY                                       MM / DD /   YYYY




  Official Form 106Dec                                       Declaration About an Individual Debtor’s Schedules
                  Case 23-10821-MLB                       Doc 1   Filed 05/05/23               Ent. 05/05/23 08:22:36           Pg. 36 of 55
 Fill in this information to identify your case:

                    John-Henry Haynes
 Debtor 1
                    First Name          Middle Name         Last Name

 Debtor 2
 (Spouse, if filing)   First Name         Middle Name         Last Name



 United States Bankruptcy Court for the: Western District of Washington

 Case number
 (if know)                                                                                                                                                     Check if this is
                                                                                                                                                               an amended
                                                                                                                                                               filing



 Official Form 107
 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                      4/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is needed, attach
a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:       Give Details About Your Marital Status and Where You Lived Before

 1. What is your current marital status?
       Married
       Not married
 2. During the last 3 years, have you lived anywhere other than where you live now?
       No
       Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community
    property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and
    Wisconsin.)
       No
       Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H)

 Part 2:       Explain the Sources of Your Income

 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
    Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
    If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.
       No
       Yes. Fill in the details.
                                                                          Debtor 1                                            Debtor 2

                                                                          Sources of income          Gross income             Sources of income             Gross income
                                                                          Check all that apply       (before deductions       Check all that apply          (before deductions
                                                                                                     and exclusions)                                        and exclusions)

         From January 1 of current year until the date
         you filed for bankruptcy:                                           Wages,              $                               Wages,                 $
                                                                             commissions,                                        commissions,
                                                                             bonuses, tips                                       bonuses, tips
                                                                             Operating a business                                Operating a business


         For last calendar year:
                                                                             Wages,              $ 59,275.00                     Wages,                 $
         (January 1 to December 31, 2022                                     commissions,                                        commissions,
                                                                             bonuses, tips                                       bonuses, tips
                                                                             Operating a business                                Operating a business


         For the calendar year before that:
                                                                             Wages,              $ 82,348.00                     Wages,                 $
         (January 1 to December 31, 2021                                     commissions,                                        commissions,
                                                                             bonuses, tips                                       bonuses, tips
                                                                             Operating a business                                Operating a business



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Debtor         John-Henry Haynes                                                                                            Case number(if known)
              First Name      Middle Name       Last Name




5. Did you receive any other income during this year or the two previous calendar years?
   Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
   unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;
   and gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under
   Debtor 1.

   List each source and the gross income from each source separately. Do not include income that you listed in line 4.
         No
         Yes. Fill in the details.
                                         Debtor 1                                                             Debtor 2

                                         Sources of income                    Gross income from each          Sources of income                Gross income from each
                                         Describe below.                      source                          Describe below.                  source
                                                                              (before deductions and                                           (before deductions and
                                                                              exclusions)                                                      exclusions)
  From January 1 of
  current year until the                    Wife income                        $ 19,589.34
  date you filed for
  bankruptcy:
  For last calendar year:

  (January 1 to December
  31, 2022
  For the calendar year
  before that:

  (January 1 to December
  31, 2021


 Part 3:       List Certain Payments You Made Before You Filed for Bankruptcy

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

         No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
             “incurred by an individual primarily for a personal, family, or household purpose.”

              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?

                    No. Go to line 7.

                    Yes. List below each creditor to whom you paid a total of $7,575* or more in one or more payments and
                    the total amount you paid that creditor. Do not include payments for domestic support obligations, such
                    as child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

              * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

         Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                     No. Go to line 7.

                     Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                          creditor. Do not include payments for domestic support obligations, such as child support and
                          alimony. Also, do not include payments to an attorney for this bankruptcy case.

                                                                Dates of payment          Total amount paid         Amount you still        Was this payment
                                                                                                                    owe                     for…




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Debtor          John-Henry Haynes                                                                                         Case number(if known)
               First Name       Middle Name   Last Name




                                                                                      $ 7,010.34                 $ 314,786.00                Mortgage
                       1st Security Bank of                                                                                                  Car
                       Creditor’s Name
                                                                                                                                             Credit card
                       Washington                                                                                                            Loan repayment
                                                                                                                                             Suppliers or
                       6920 220th Street SW                                                                                               vendors
                       Number     Street                                                                                                     Other
                       Suite 300

                       Mountlake Terrace WA
                       City                   State
                       98043
                       ZIP Code



                                                                                      $ 1,050.00                 $ 48,482.00                 Mortgage
                       1st Security Bank of
                                                                                                                                             Car
                       Creditor’s Name
                                                                                                                                             Credit card
                       Washington                                                                                                            Loan repayment
                                                                                                                                             Suppliers or
                       6920 220th Street SW                                                                                               vendors
                       Number     Street                                                                                                     Other
                       Suite 300

                       Mountlake Terrace WA
                       City                   State
                       98043
                       ZIP Code



7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider? Insiders
   include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
   corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
   agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
   such as child support and alimony.
         No.
         Yes. List all payments to an insider.

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
   insider?
   Include payments on debts guaranteed or cosigned by an insider.
         No.
         Yes. List all payments that benefited an insider.


 Part 4:        Identify Legal Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
   List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
   and contract disputes.
         No
         Yes. Fill in the details.

10.Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
   Check all that apply and fill in the details below.
         No. Go to line 11.
         Yes. Fill in the information below.

11.Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts
   from your accounts or refuse to make a payment because you owed a debt?
         No
         Yes. Fill in the details

12.Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
   creditors, a court-appointed receiver, a custodian, or another official?
         No
         Yes


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Debtor            John-Henry Haynes                                                                                           Case number(if known)
                 First Name         Middle Name   Last Name




 Part 5:          List Certain Gifts and Contributions

13.Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
         No
         Yes. Fill in the details for each gift.

14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
         No
         Yes. Fill in the details for each gift or contribution.


 Part 6:          List Certain Losses

15.Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or
   gambling?
         No
         Yes. Fill in the details.


 Part 7:          List Certain Payments or Transfers

16.Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
   anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
   Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.
         No
         Yes. Fill in the details.
                                                                      Description and value of any property transferred                Date payment      Amount of
                                                                                                                                       or transfer was   payment
                                                                                                                                       made
                                                                                                                                       04/2023           $ 1,875.00
          Skelton Law Firm                                                                                                                               $
          Person Who Was Paid
          1812 Hewitt Ave, Suite 210
          Number         Street
          Everett WA              98201
          City         State      ZIP Code


          Email or website address


          Person Who Made the Payment, if Not You



17.Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
   anyone who promised to help you deal with your creditors or to make payments to your creditors?
   Do not include any payment or transfer that you listed on line 16.
         No
         Yes. Fill in the details.

18.Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
   property transferred in the ordinary course of your business or financial affairs?
   Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
   Do not include gifts and transfers that you have already listed on this statement.
         No
         Yes. Fill in the details.

19.Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
   you are a beneficiary?(These are often called asset-protection devices.)
         No
         Yes. Fill in the details.


 Part 8:          List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units




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Debtor          John-Henry Haynes                                                                                           Case number(if known)
               First Name     Middle Name    Last Name




20.Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
   closed, sold, moved, or transferred?
   Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
   brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
         No
         Yes. Fill in the details.

21.Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
   securities, cash, or other valuables?
         No
         Yes. Fill in the details.

22.Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy
         No
         Yes. Fill in the details.


 Part 9:        Identify Property You Hold or Control for Someone Else

23.Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
   or hold in trust for someone.
         No
         Yes. Fill in the details.


 Part 10:        Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:
    Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
    hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
    including statutes or regulations controlling the cleanup of these substances, wastes, or material.
    Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize
    it or used to own, operate, or utilize it, including disposal sites.
    Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
    substance, hazardous material, pollutant, contaminant, or similar term.
Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24.Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?
         No
         Yes. Fill in the details.

25.Have you notified any governmental unit of any release of hazardous material?
         No
         Yes. Fill in the details.

26.Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
         No
         Yes. Fill in the details.


 Part 11:        Give Details About Your Business or Connections to Any Business

27.Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
              A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
              A member of a limited liability company (LLC) or limited liability partnership (LLP)
              A partner in a partnership
              An officer, director, or managing executive of a corporation
              An owner of at least 5% of the voting or equity securities of a corporation
         No. None of the above applies. Go to Part 12.
         Yes. Check all that apply above and fill in the details below for each business.




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                                                                                                              for Bankruptcy 08:22:36     Pg. 41 of 55   page 5 of 7
Debtor           John-Henry Haynes                                                                                         Case number(if known)
                First Name       Middle Name   Last Name




                                                                      Describe the nature of the business                 Employer Identification number
         Diesel Transport, LLC                                                                                            Do not include Social Security number or
         Business Name                                                                                                    ITIN.
                                                                     trucking company
         Number        Street                                                                                            EIN: 8    7      –1    4   8   3   2   0   5
         .         .         .                                       Name of accountant or bookkeeper                    Dates business existed
         City      State     ZIP Code
                                                                                                                         From 10/01/2019 To 03/31/2023



28.Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
   institutions, creditors, or other parties.
         No. None of the above applies. Go to Part 12.
         Yes. Check all that apply above and fill in the details below for each business.




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Debtor         John-Henry Haynes                                                                                           Case number(if known)
              First Name         Middle Name   Last Name




 Part 12:       Sign Below

    I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
    answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
    in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
    18 U.S.C. §§ 152, 1341, 1519, and 3571.

         /s/ John-Henry Haynes
         Signature of Debtor 1                                                Signature of Debtor 2

         Date 05/05/2023                                                      Date

    Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

         No
         Yes. Name of person                                                                            Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                                        Declaration, and Signature (Official Form 119).




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                                                                                                                for Bankruptcy 08:22:36   Pg. 43 of 55      page 7 of 7
  Fill in this information to identify your case:

                     John-Henry Haynes
   Debtor 1
                     First Name          Middle Name          Last Name

   Debtor 2
   (Spouse, if filing)   First Name        Middle Name          Last Name



   United States Bankruptcy Court for the: Western District of Washington

   Case number
   (if known)
                                                                                                                                                 Check if this is
                                                                                                                                                 an amended
                                                                                                                                                 filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                             12/15

If you are an individual filing under chapter 7, you must fill out this form if:
◾ creditors have claims secured by your property, or
◾ you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign
and date the form.
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known).

 Part 1:       List Your Creditors Who Have Secured Claims


 1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the information
    below.
                                                                     What do you intend to do with the property     Did you claim the property as
    Identify the creditor and the property that is collateral
                                                                     that secures a debt?                           exempt on Schedule C?
   Creditor's                                                                   Surrender the property.                             No
   name:                 WASH STATE EMP CREDIT UNION
                                                                                Retain the property and redeem it.                  Yes
   Description of 1989 Bayliner 3818 Motor Yacht                                Retain the property and enter into a
   property
   securing debt:                                                               Reaffirmation Agreement.
                                                                                Retain the property and [explain]:



   Creditor's                                                                   Surrender the property.                             No
   name:                 Sound Credit Union
                                                                                Retain the property and redeem it.                  Yes
   Description of 2010 Jeep Wrangler Rubicon                                    Retain the property and enter into a
   property
                                                                                Reaffirmation Agreement.
   securing debt:
                                                                                Retain the property and [explain]:



   Creditor's                                                                   Surrender the property.                             No
   name:                 1st Security Bank of Washington
                                                                                Retain the property and redeem it.                  Yes
   Description of 8306 Vernon Rd                                                Retain the property and enter into a
   property
   securing debt:                                                               Reaffirmation Agreement.
                                                                                Retain the property and [explain]:




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                                                           Statement           05/05/23
                                                                     of Intention                   Ent.
                                                                                  for Individuals Filing    05/05/23
                                                                                                         Under Chapter 7 08:22:36        Pg. 44 of 55   page 1 of 3
Debtor        John-Henry Haynes                                                                               Case number(if known)



                                                                    What do you intend to do with the property        Did you claim the property as
    Identify the creditor and the property that is collateral
                                                                    that secures a debt?                              exempt on Schedule C?
  Creditor's                                                            Surrender the property.                             No
  name:             1st Security Bank of Washington
                                                                        Retain the property and redeem it.                  Yes
  Description of 8306 Vernon Rd                                         Retain the property and enter into a
  property
  securing debt:                                                        Reaffirmation Agreement.
                                                                        Retain the property and [explain]:



  Creditor's                                                            Surrender the property.                             No
  name:             Kitsap Credit Union
                                                                        Retain the property and redeem it.                  Yes
  Description of 40' Sierra Forest River bumper-pull trailer            Retain the property and enter into a
  property
  securing debt:                                                        Reaffirmation Agreement.
                                                                        Retain the property and [explain]:



  Creditor's                                                            Surrender the property.                             No
  name:             Ascentium Capital
                                                                        Retain the property and redeem it.                  Yes
  Description of 2014 Peterbilt 348 Semi Tractor                        Retain the property and enter into a
  property
  securing debt:                                                        Reaffirmation Agreement.
                                                                        Retain the property and [explain]:



  Creditor's                                                            Surrender the property.                             No
  name:             Mitsubishi HC Capital America
                                                                        Retain the property and redeem it.                  Yes
  Description of 2021 Infinity 5 car hauler- business                   Retain the property and enter into a
  property       related property
  securing debt:                                                        Reaffirmation Agreement.
                                                                        Retain the property and [explain]:



  Creditor's                                                            Surrender the property.                             No
  name:             Ascentium Capital
                                                                        Retain the property and redeem it.                  Yes
  Description of 2015 Peterbilt 337 Rollback Tow Truck                  Retain the property and enter into a
  property
  securing debt:                                                        Reaffirmation Agreement.
                                                                        Retain the property and [explain]:



  Creditor's                                                            Surrender the property.                             No
  name:             Top Mark Funding, LLC
                                                                        Retain the property and redeem it.                  Yes
  Description of 2015 Great Dane 28' Trailer                            Retain the property and enter into a
  property
                                                                        Reaffirmation Agreement.
  securing debt:
                                                                        Retain the property and [explain]:



  Creditor's                                                            Surrender the property.                             No
  name:             Financial Pacific Leasing Inc.
                                                                        Retain the property and redeem it.                  Yes
  Description of 1997 Peterbilt 379 Semi Tractor                        Retain the property and enter into a
  property
  securing debt:                                                        Reaffirmation Agreement.
                                                                        Retain the property and [explain]:




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                                                   Statement           05/05/23
                                                             of Intention                   Ent.
                                                                          for Individuals Filing    05/05/23
                                                                                                 Under Chapter 7 08:22:36        Pg. 45 of 55   page 2 of 3
Debtor        John-Henry Haynes                                                                           Case number(if known)



Part 2:      List Your Unexpired Personal Property Leases


 For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
 in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
 You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).
    Describe your unexpired personal property leases Will the lease be assumed?


Part 3:      Sign Below


Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.



     /s/ John-Henry Haynes
       Signature of Debtor 1                                               Signature of Debtor 2


     Date 05/05/2023                                                      Date 05/05/2023
             MM/DD/YYYY                                                         MM/DD/YYYY




               Case 23-10821-MLB
Official Form 108                            Doc  1 Filed
                                               Statement           05/05/23
                                                         of Intention                   Ent.
                                                                      for Individuals Filing    05/05/23
                                                                                             Under Chapter 7 08:22:36   Pg. 46 of 55      page 3 of 3
1st Security Bank of Washington                            Motor Trucks International and Idealease, Inc
6920 220th Street SW                                       PO Box 1538
Suite 300                                                  Marysville, WA 98270
Mountlake Terrace, WA 98043

                                                           North Mill Equipment
ADS/COMENITY/IKEAVC                                        601 Merritt 7 #5
PO BOX 182120                                              Norwalk, CT 06851
Columbus, OH 43218

                                                           Sound Credit Union
Ascentium Capital                                          PO Box 1595
23970 Highway 59 N                                         Tacoma, WA 98401
Humble, TX 77339

                                                           Top Mark Funding, LLC
Bank of America                                            516 Gibson Drive
PO Box 982238                                              Suite 160
El Paso, TX 79998-2235                                     Roseville, CA 95678


CAPITAL ONE                                                Universal Premium Mastercard
PO BOX 31293                                               PO Box 7095
Salt Lake City, UT 84131                                   Charlotte, NC 28272


Christensen (Amerifuel)                                    WASH STATE EMP CREDIT UNION
Jadwin Ave                                                 400 UNION STREET
Richland, WA 99352                                         Olympia, WA 98501


Citicards CBNA                                             Washington State Department of Transportation
5800 South Corporate Place                                 310 Maple Park Ave SE
MAIL CODE 234                                              Po Box 47300
Sioux Falls, SD 57108                                      Olympia, WA 98504


Financial Pacific Leasing Inc.
3455 S 344th Way STE #))
Auburn, WA 98001


Intuit
6888 Sierra Center Pkwy
Reno, NV 89511


Kitsap Credit Union
155 Washington Ave
Bremerton, WA 98337


McKinney Trailer Rentals
PO Box 515574
Los Angeles, CA 90051


Mitsubishi HC Capital America
21925 Network Place
Chicago, IL 60673-1219




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                              United States Bankruptcy Court
                              Western District of Washington




         John-Henry Haynes
In re:                                                           Case No.

                                                                 Chapter    7
                    Debtor(s)




                              Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




              05/05/2023                            /s/ John-Henry Haynes
Date:
                                                    Signature of Debtor



                                                    Signature of Joint Debtor




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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                Chapter 7:        Liquidation
 This notice is for you if:

       You are an individual filing for bankruptcy,                      $245     filing fee
        and                                                                $78     administrative fee
                                                                +          $15     trustee surcharge
       Your debts are primarily consumer debts.
                                                                          $338     total fee
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                  Chapter 7 is for individuals who have financial
        primarily for a personal, family, or                    difficulty preventing them from paying their
        household purpose.”                                     debts and who are willing to allow their non-
                                                                exempt property to be used to pay their
                                                                creditors. The primary purpose of filing under
                                                                chapter 7 is to have your debts discharged. The
The types of bankruptcy that are                                bankruptcy discharge relieves you after
available to individuals                                        bankruptcy from having to pay many of your
                                                                pre-bankruptcy debts. Exceptions exist for
Individuals who meet the qualifications may file                particular debts, and liens on property may still
under one of four different chapters of the                     be enforced after discharge. For example, a
Bankruptcy Code:                                                creditor may have the right to foreclose a home
                                                                mortgage or repossess an automobile.
       Chapter 7 — Liquidation
                                                                However, if the court finds that you have
       Chapter 11 — Reorganization
                                                                committed certain kinds of improper conduct
                                                                described in the Bankruptcy Code, the court
       Chapter 12 — Voluntary repayment plan
                                                                may deny your discharge.
                     for family farmers or
                     fishermen
                                                                You should know that even if you file
                                                                chapter 7 and you receive a discharge, some
       Chapter 13 — Voluntary repayment plan
                                                                debts are not discharged under the law.
                     for individuals with regular
                                                                Therefore, you may still be responsible to pay:
                     income
                                                                    most taxes;
You should have an attorney review your                             most student loans;
decision to file for bankruptcy and the choice of
                                                                    domestic support and property settlement
chapter.
                                                                     obligations;




Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)          page 1



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   most fines, penalties, forfeitures, and                     your income is more than the median income
    criminal restitution obligations; and                       for your state of residence and family size,
   certain debts that are not listed in your                   depending on the results of the Means Test, the
    bankruptcy papers.                                          U.S. trustee, bankruptcy administrator, or
                                                                creditors can file a motion to dismiss your case
You may also be required to pay debts arising                   under § 707(b) of the Bankruptcy Code. If a
from:                                                           motion is filed, the court will decide if your
                                                                case should be dismissed. To avoid dismissal,
   fraud or theft;
                                                                you may choose to proceed under another
   fraud or defalcation while acting in breach                 chapter of the Bankruptcy Code.
    of fiduciary capacity;
                                                                If you are an individual filing for chapter 7
   intentional injuries that you inflicted; and
                                                                bankruptcy, the trustee may sell your property
   death or personal injury caused by                          to pay your debts, subject to your right to
    operating a motor vehicle, vessel, or                       exempt the property or a portion of the
    aircraft while intoxicated from alcohol or                  proceeds from the sale of the property. The
    drugs.                                                      property, and the proceeds from property that
                                                                your bankruptcy trustee sells or liquidates that
If your debts are primarily consumer debts, the                 you are entitled to, is called exempt property.
court can dismiss your chapter 7 case if it finds               Exemptions may enable you to keep your
that you have enough income to repay                            home, a car, clothing, and household items or
creditors a certain amount. You must file                       to receive some of the proceeds if the property
Chapter 7 Statement of Your Current Monthly                     is sold.
Income (Official Form 122A–1) if you are an
individual filing for bankruptcy under                          Exemptions are not automatic. To exempt
chapter 7. This form will determine your                        property, you must list it on Schedule C: The
current monthly income and compare whether                      Property You Claim as Exempt (Official Form
your income is more than the median income                      106C). If you do not list the property, the
that applies in your state.                                     trustee may sell it and pay all of the proceeds
                                                                to your creditors.
If your income is not above the median for
your state, you will not have to complete the
other chapter 7 form, the Chapter 7 Means                       Chapter 11: Reorganization
Test Calculation (Official Form 122A–2).
                                                                         $1,167    filing fee
If your income is above the median for your                     +          $571    administrative fee
state, you must file a second form —the                                  $1,738    total fee
Chapter 7 Means Test Calculation (Official
Form 122A–2). The calculations on the form—                     Chapter 11 is often used for reorganizing a
sometimes called the Means Test—deduct                          business, but is also available to individuals.
from your income living expenses and                            The provisions of chapter 11 are too
payments on certain debts to determine any                      complicated to summarize briefly.
amount available to pay unsecured creditors. If



Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)          page 2



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Read These Important Warnings


Because bankruptcy can have serious long-term financial and legal consequences, including loss of
your property, you should hire an attorney and carefully consider all of your options before you file.
Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
properly and protect you, your family, your home, and your possessions.
Although the law allows you to represent yourself in bankruptcy court, you should understand that
many people find it difficult to represent themselves successfully. The rules are technical, and a
mistake or inaction may harm you. If you file without an attorney, you are still responsible for knowing
and following all of the legal requirements.
You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
necessary documents.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




Chapter 12: Repayment plan for family                           Under chapter 13, you must file with the court
            farmers or fishermen                                a plan to repay your creditors all or part of the
                                                                money that you owe them, usually using your
           $200   filing fee                                    future earnings. If the court approves your
+           $78   administrative fee                            plan, the court will allow you to repay your
           $278   total fee
                                                                debts, as adjusted by the plan, within 3 years or
                                                                5 years, depending on your income and other
Similar to chapter 13, chapter 12 permits
                                                                factors.
family farmers and fishermen to repay their
debts over a period of time using future                        After you make all the payments under your
earnings and to discharge some debts that are                   plan, many of your debts are discharged. The
not paid.                                                       debts that are not discharged and that you may
                                                                still be responsible to pay include:
                                                                    domestic support obligations,
Chapter 13: Repayment plan for
                                                                    most student loans,
            individuals with regular
            income                                                  certain taxes,
                                                                    debts for fraud or theft,
          $235    filing fee                                        debts for fraud or defalcation while acting
+          $78    administrative fee                                 in a fiduciary capacity,
          $313    total fee
                                                                    most criminal fines and restitution
                                                                     obligations,
Chapter 13 is for individuals who have regular
income and would like to pay all or part of                         certain debts that are not listed in your
their debts in installments over a period of time                    bankruptcy papers,
and to discharge some debts that are not paid.                      certain debts for acts that caused death or
You are eligible for chapter 13 only if your                         personal injury, and
debts are not more than certain dollar amounts                      certain long-term secured debts.
set forth in 11 U.S.C. § 109.


Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)       page 3



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                                                                 A married couple may file a bankruptcy case
    Warning: File Your Forms on Time                             together—called a joint case. If you file a joint
                                                                 case and each spouse lists the same mailing
    Section 521(a)(1) of the Bankruptcy Code                     address on the bankruptcy petition, the
    requires that you promptly file detailed information
                                                                 bankruptcy court generally will mail you and
    about your creditors, assets, liabilities, income,
    expenses and general financial condition. The                your spouse one copy of each notice, unless
    court may dismiss your bankruptcy case if you do             you file a statement with the court asking that
    not file this information within the deadlines set by        each spouse receive separate copies.
    the Bankruptcy Code, the Bankruptcy Rules, and
    the local rules of the court.

    For more information about the documents and                 Understand which services you
    their deadlines, go to:                                      could receive from credit
    http://www.uscourts.gov/forms/bankruptcy-forms               counseling agencies

                                                                 The law generally requires that you receive a
                                                                 credit counseling briefing from an approved
                                                                 credit counseling agency. 11 U.S.C. § 109(h).
Bankruptcy crimes have serious
                                                                 If you are filing a joint case, both spouses must
consequences
                                                                 receive the briefing. With limited exceptions,
     If you knowingly and fraudulently conceal                  you must receive it within the 180 days before
      assets or make a false oath or statement                   you file your bankruptcy petition. This briefing
      under penalty of perjury—either orally or                  is usually conducted by telephone or on the
      in writing—in connection with a                            Internet.
      bankruptcy case, you may be fined,
      imprisoned, or both.                                       In addition, after filing a bankruptcy case, you
                                                                 generally must complete a financial
      All information you supply in connection                  management instructional course before you
      with a bankruptcy case is subject to                       can receive a discharge. If you are filing a joint
      examination by the Attorney General acting                 case, both spouses must complete the course.
      through the Office of the U.S. Trustee, the
      Office of the U.S. Attorney, and other                     You can obtain the list of agencies approved to
      offices and employees of the U.S.                          provide both the briefing and the instructional
      Department of Justice.                                     course from: http://www.uscourts.gov/services-
                                                                 forms/bankruptcy/credit-counseling-and-debtor-
Make sure the court has your                                     education-courses.
mailing address                                                  In Alabama and North Carolina, go to:
The bankruptcy court sends notices to the                        http://www.uscourts.gov/services-
mailing address you list on Voluntary Petition                   forms/bankruptcy/credit-counseling-and-
for Individuals Filing for Bankruptcy (Official                  debtor-education-courses.
Form 101). To ensure that you receive
                                                                 If you do not have access to a computer, the
information about your case, Bankruptcy
                                                                 clerk of the bankruptcy court may be able to
Rule 4002 requires that you notify the court of
                                                                 help you obtain the list.
any changes in your address.


Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)       page 4


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     B2030 (Form 2030) (12/15)


                                      United States Bankruptcy Court
                                                            Western District of Washington
                                               __________________________________
     In re John-Henry Haynes
                                                                                                             Case No. _______________

    Debtor                                                                                                            7
                                                                                                              Chapter________________

                       DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

    1. Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the
       above named debtor(s) and that compensation paid to me within one year before the filing of the
       petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of
       the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

✔   FLAT FEE
                                                                                                                         1,537.00
          For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                 1,537.00
          Prior to the filing of this statement I have received. . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                                   0.00
          Balance Due. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________

     RETAINER
          For legal services, I have agreed to accept a retainer of . . . . . . . . . . . . . . . . . . . . $______________

          The undersigned shall bill against the retainer at an hourly rate of . . . . . . . . . . . $______________
          [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court
          approved fees and expenses exceeding the amount of the retainer.

    2. The source of the compensation paid to me was:
                 Debtor                                 Other (specify)

    3. The source of compensation to be paid to me is:
                 Debtor                                 Other (specify)

    4.         I have not agreed to share the above-disclosed compensation with any other person unless they
         are members and associates of my law firm.

              I have agreed to share the above-disclosed compensation with a other person or persons who
    are not members or associates of my law firm. A copy of the Agreement, together with a list of the names
    of the people sharing the compensation is attached.
    5. In return of the above-disclosed fee, I have agreed to render legal service for all aspects of the
       bankruptcy case, including:
         a. Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining
            whether to file a petition in bankruptcy;
         b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be
            required;
         c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any
            adjourned hearings thereof;

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 B2030 (Form 2030) (12/15)
      d. [Other provisions as needed]
Preparation of Chapter 7 documents, representation at 341 Meeting, filing reaffirmation agreements, filing all documents necessary to complete a
normal Chapter 7 case




6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
Adversaries, Objections to Discharge, Audits




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                                           CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for
          payment to me for representation of the debtor(s) in this bankruptcy proceeding.

      05/05/2023                        /s/ Susan Skelton, 47154
    _____________________              _________________________________________
    Date                                     Signature of Attorney
                                        Susan E Skelton Attorney at Law
                                       _________________________________________
                                            ​Name of law firm
                                        1812 Hewitt Ave
                                        Suite 210
                                        Everett, WA 98201




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